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                                                                             APPEAL,CAP,CAT B
                              U.S. District Court
                   District of Columbia (Washington, DC)
            CRIMINAL DOCKET FOR CASE #: 1:21−cr−00128−RC−1

Case title: USA v. POPE et al

Magistrate judge case number: 1:21−mj−00217−ZMF

Date Filed: 02/17/2021

Assigned to: Judge Rudolph
Contreras

Defendant (1)
WILLIAM POPE                       represented by WILLIAM POPE
                                                  1106 NW Jackson
                                                  Topeka, KS 66608
                                                  785−817−9349
                                                  Email: will@freestatekansas.com
                                                  PRO SE

                                                  Gregory Bruce English
                                                  ENGLISH LAW FIRM, PLLC
                                                  601 King Street
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                                                  Fax: (703) 836−6842
                                                  Email: gbeuva@gmail.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Nicole Ann Cubbage
                                                  LAW OFFICE OF NICOLE CUBBAGE
                                                  712 H. Street NE
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                                                  703−209−4546
                                                  Email: cubbagelaw@gmail.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: CJA Appointment

                                                  Terry Eaton
                                                  DOJ−CRM
                                                  1301 New York Avenue, N.W.
                                                  2nd Floor, Suite 251
                                                  Washington, DC 20005

                                                                                                1
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                                          202−514−1320
                                          Email: terry.eaton@usdoj.gov
                                          TERMINATED: 01/06/2022
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED
                                          Designation: CJA Appointment

Pending Counts                            Disposition
18 U.S.C. 231(a)(3); CIVIL
DISORDER; Civil Disorder
(1)
18:231(a)(3); CIVIL DISORDER;
Civil Disorder
(1s)
18 U.S.C. 1512(c)(2) and 2;
TAMPERING WITH A
WITNESS, VICTIM OR
INFORMANT; Obstruction of an
Official Proceeding and Aiding
and Abetting
(2)
18:1512(c)(2) and 2;
TAMPERING WITH A
WITNESS, VICTIM OR
INFORMANT; Obstruction of an
Official Proceeding and Aiding
and Abetting
(2s)
18 U.S.C. 1752(a)(1);
TEMPORARY RESIDENCE OF
THE PRESIDENT; Entering and
Remaining in a Restricted
Building or Grounds
(3)
18:1752(a)(1); TEMPORARY
RESIDENCE OF THE
PRESIDENT; Entering and
Remaining in a Restricted
Building or Grounds
(3s)
18 U.S.C. 1752(a)(2);
TEMPORARY RESIDENCE OF
THE PRESIDENT; Disorderly and
Disruptive Conduct in a Restricted
Building or Grounds
(4)
18:1752(a)(2); TEMPORARY
RESIDENCE OF THE

                                                                         2
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PRESIDENT; Disorderly and
Disruptive Conduct in a Restricted
Building or Grounds
(4s)
18 U.S.C. 1752(a)(3);
TEMPORARY RESIDENCE OF
THE PRESIDENT; Impeding
Ingress and Egress in a Restricted
Building or Grounds
(5)
18:1752(a)(3); TEMPORARY
RESIDENCE OF THE
PRESIDENT; Impeding Ingress
and Egress in a Restricted
Building or Grounds
(5s)
40 U.S.C. 5104(e)(2)(D);
FEDERAL STATUTES, OTHER;
Disorderly Conduct in a Capitol
Building
(6)
40:5104(e)(2)(D); VIOLENT
ENTRY AND DISORDERLY
CONDUCT ON CAPITOL
GROUNDS; Disorderly Conduct
in a Capitol Building
(6s)
40 U.S.C. 5104(e)(2)(E);
FEDERAL STATUTES, OTHER;
Impeding Passage Through the
Capitol Grounds or Buildings
(7)
40:5104(e)(2)(E); VIOLENT
ENTRY AND DISORDERLY
CONDUCT ON CAPITOL
GROUNDS; Impeding Passage
Through the Capitol Grounds or
Buildings
(7s)
40 U.S.C. 5104(e)(2)(G);
FEDERAL STATUTES, OTHER;
Parading, Demonstrating, or
Picketing in a Capitol Building
(8)
40:5104(e)(2)(G); VIOLENT
ENTRY AND DISORDERLY
CONDUCT ON CAPITOL
GROUNDS; Parading,


                                                                         3
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Demonstrating, or Picketing in a
Capitol Building
(8s)

Highest Offense Level (Opening)
Felony

Terminated Counts                             Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                    Disposition
COMPLAINT in VIOLATION of
18 U.S.C. 1512(c)(2); 18 U.S.C.
231(a)(3); 18 U.S.C. 1752(a)(1);
18 U.S.C. 1752(a)(2); 40 U.S.C.
5104(e)(2)(D); 40 U.S.C.
5104(e)(2)(E); 40 U.S.C.
5104(e)(2)(G)



Interested Party
PRESS COALITION                         represented by Charles D. Tobin
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       Case 1:21-cr-00128-RC Document 108 Filed 05/04/23 Page 5 of 100


                                                     Designation: Retained

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Plaintiff
USA                                   represented by Jason M. Crawford
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                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Assistant U.S. Attorney

                                                     Jeffrey Napoleon Poulin
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                                                     TERMINATED: 05/12/2021
                                                     LEAD ATTORNEY
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                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Assistant U.S. Attorney

                                                     Jacob Ryan Steiner
                                                     DOJ−CRM
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                                                                 10th Floor
                                                                 Washington, DC 20530
                                                                 202−924−5829
                                                                 Email: jacob.steiner@usdoj.gov
                                                                 TERMINATED: 10/14/2021
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Assistant U.S. Attorney

                                                                 Mike Mitchell
                                                                 DOJ−USAO
                                                                 LRM: Rocca, Pamela
                                                                 1290 West Myrtle Street
                                                                 Suite 500
                                                                 Boise, ID 83702
                                                                 (208) 676−7341
                                                                 Email: mike.mitchell@usdoj.gov
                                                                 TERMINATED: 04/04/2022
                                                                 Designation: Assistant U.S. Attorney

Date Filed   #    Docket Text
02/10/2021    1   SEALED COMPLAINT as to WILLIAM POPE (1), MICHAEL POPE (2).
                  (Attachments: # 1 Statement of Facts) (zltp) [1:21−mj−00217−ZMF] (Entered:
                  02/10/2021)
02/10/2021    3   MOTION to Seal Case by USA as to WILLIAM POPE, MICHAEL POPE.
                  (Attachments: # 1 Text of Proposed Order)(zltp) [1:21−mj−00217−ZMF] (Entered:
                  02/10/2021)
02/10/2021    4   ORDER granting 3 Motion to Seal Case as to WILLIAM POPE (1), MICHAEL
                  POPE (2). Signed by Magistrate Judge Zia M. Faruqui on 2/10/21. (zltp)
                  [1:21−mj−00217−ZMF] (Entered: 02/10/2021)
02/11/2021    5   NOTICE OF ATTORNEY APPEARANCE Jeffrey Napoleon Poulin appearing for
                  USA. (zltp) [1:21−mj−00217−ZMF] (Entered: 02/12/2021)
02/12/2021        Case unsealed as to WILLIAM POPE (zstd) [1:21−mj−00217−ZMF] (Entered:
                  02/25/2021)
02/12/2021        Arrest of WILLIAM POPE in US District Court District of Kansas (Topeka). (bb)
                  (Entered: 03/31/2021)
02/17/2021    8   INDICTMENT as to WILLIAM POPE (1) count(s) 1, 2, 3, 4, 5, 6, 7, 8, MICHAEL
                  POPE (2) count(s) 1, 2, 3, 4, 5, 6, 7, 8. (zltp) (Entered: 02/25/2021)
03/02/2021   13   NOTICE OF ATTORNEY APPEARANCE: Terry Eaton appearing for WILLIAM
                  POPE Notice of Attorney Appearance (Eaton, Terry) (Entered: 03/02/2021)
03/05/2021        Minute Entry for proceedings held before Judge Rudolph Contreras: Arraignment and
                  Status Conference as to defendants WILLIAM POPE (1) and Michael Pope held on
                  3/5/2021. Defendant William Pope enters a plea of NOT GUILTY to counts
                  1,2,3,4,5,6,7 and 8 of the indictment filed on 2/17/2021. Conditions of release are set
                  as to defendant William Pope (1), and the defendant acknowledges the conditions on
                  the record. Conditions of release as to defendant Michael Pope (2) are modified as
                  stated on the record. Parties inform the court of the status of this action. Speedy trial is

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                  excluded (XT) from 3/5/2021 to 5/3/2021 in the interest of justice as to both
                  defendants. Next status conference is set for 5/3/2021 at 11:30 AM before Judge
                  Rudolph Contreras. Bond Status of Defendant: Defendants on Personal Recognizance
                  Bond; Court Reporter: Janice Dickman; Defense Attorney: Terry Eaton for W. Pope;
                  Carlos Vanegas for M. Pope; US Attorney: JEffrey N. Poulin; (tj) (Entered:
                  03/05/2021)
03/05/2021   16   ORDER Setting Conditions of Release as to WILLIAM POPE (1) Personal
                  Recognizance Bond (Signed by Judge Rudolph Contreras on 3/5/2021). (tj) (Entered:
                  03/05/2021)
03/05/2021        MINUTE ORDER as to WILLIAM POPE (1) AND MICHAEL POPE (2): Pursuant
                  to the Due Process Protections Act, the Court ORDERS that all government counsel
                  shall review their disclosure obligations under Brady v. Maryland, 373 U.S. 83
                  (1963), and its progeny, as set forth in Local Criminal Rule 5.1, and comply with
                  those provisions. The failure to comply could result in dismissal of the indictment or
                  information, dismissal of individual charges, exclusion of government evidence or
                  witnesses, continuances, Bar discipline, or any other remedy that is just under the
                  circumstances. (So Ordered Judge Rudolph Contreras on 3/5/2021). (tj) (Entered:
                  03/05/2021)
03/05/2021   18   Rule 5(c)(3) Documents Received as to WILLIAM POPE from US District Court
                  District of Kansas (Topeka) Case Number 5:21−mj−5017−ADM (bb) (Entered:
                  03/31/2021)
04/30/2021        Set/Reset Hearings as to WILLIAM POPE, MICHAEL POPE: Status Conference
                  currently scheduled for 5/3/2021 is hereby RESCHEDULED for 5/5/2021 at 11:30
                  AM before Judge Rudolph Contreras via Zoom Video. (tj) (Entered: 04/30/2021)
05/04/2021   22   Joint MOTION to Continue May 5, 2021 Status Hearing by USA as to WILLIAM
                  POPE, MICHAEL POPE. (Attachments: # 1 Text of Proposed Order)(Poulin, Jeffrey)
                  (Entered: 05/04/2021)
05/04/2021   23   Unopposed MOTION for Protective Order by USA as to WILLIAM POPE,
                  MICHAEL POPE. (Attachments: # 1 Text of Proposed Order)(Poulin, Jeffrey)
                  (Entered: 05/04/2021)
05/04/2021   24   NOTICE OF FILING DISCOVERY LETTER by USA as to WILLIAM POPE,
                  MICHAEL POPE (Attachments: # 1 Notice to Counsel/Party)(Poulin, Jeffrey)
                  (Entered: 05/04/2021)
05/04/2021   25   MOTION to Exclude Time Under the Speedy Trial Act by USA as to WILLIAM
                  POPE, MICHAEL POPE. (See Docket Entry 22 to View Document). (zhsj) (Entered:
                  05/04/2021)
05/04/2021        MINIUTE ORDER as to defendants WILLIAM POPE (1) and MICHAEL POPE (2):
                  Upon consideration of the motion for continuance 22 , the status conference currently
                  scheduled for May 5, 2021 at 11:30am is hereby VACATED. The status conference is
                  hereby RESCHEDULED for June 18, 2021 @ 11:00am before Judge Rudolph
                  Contreras via Zoom Video. It is further ORDERED that pursuant the agreement
                  contained in the motion for a continuance, the Speedy Trial Act is tolled through June
                  18, 2021 in the interest of justice. (So Ordered Judge Rudolph Contreras on 5/4/2021)
                  (tj) (Entered: 05/04/2021)
05/05/2021   26


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                  PROTECTIVE ORDER setting forth procedures for handling confidential material;
                  allowing designated material to be filed under seal as to defendants WILLIAM POPE
                  (1) and MICHAEL POPE (2). (Signed by Judge Rudolph Contreras on 5/5/2021) (tj)
                  (Entered: 05/05/2021)
05/12/2021   27   NOTICE OF SUBSTITUTION OF COUNSEL as to USA. Attorney Steiner, Jacob
                  Ryan added. Substituting for attorney Jeffrey N. Poulin (Steiner, Jacob) (Entered:
                  05/12/2021)
06/17/2021        MINUTE ORDER as to WILLIAM POPE (1) and MICHAEL POPE (2): Status
                  Conference currently scheduled for 6/18/2021 @ 11:00am, is hereby
                  RESCHEDULED for 6/22/2021 at 2:00 PM before Judge Rudolph Contreras via
                  Zoom Video. (So Ordsered Judge Rudolph Contreras on 6/17/2021). (tj) (Entered:
                  06/17/2021)
06/22/2021        Minute Entry for proceedings held before Judge Rudolph Contreras: Status
                  Conference as to WILLIAM POPE (1), MICHAEL POPE (2) held on 6/22/2021.
                  Parties inform the court of the status of this action. Oral request to continue this
                  matter for a period of 60 days is GRANTED, and the next status conference is set for
                  8/23/2021 at 11:00 AM before Judge Rudolph Contreras via Zoom Video. Speedy
                  trial is excluded (XT) from 6/22/2021 until 8/23/2021 in the interest of justice. Bond
                  Status of Defendant: Both Defendant remain on personal recognizance/with consent
                  to appear by video; Court Reporter: Nancy Meyer; Defense Attorney: Terry Eaton for
                  W. Pope; Carlos Vanegas for M. Pope; US Attorney: Jacob Steiner; (tj) (Entered:
                  06/22/2021)
07/12/2021   30   NOTICE of Memorandum Regarding Status of Discovery by USA as to WILLIAM
                  POPE, MICHAEL POPE (Attachments: # 1 Exhibit A)(Steiner, Jacob) (Entered:
                  07/12/2021)
07/27/2021   31   Unopposed MOTION for Disclosure of Rule 6(e) and Sealed Materials by USA as to
                  WILLIAM POPE, MICHAEL POPE. (Attachments: # 1 Text of Proposed
                  Order)(Steiner, Jacob) (Entered: 07/27/2021)
07/28/2021   32   ORDER granting 31 the Motion for Disclosure as to defendants WILLIAM POPE (1),
                  and MICHAEL POPE (2). (See order for details) (Signed by Judge Rudolph Contreras
                  on 7/27/2021). (tj) (Entered: 07/28/2021)
08/14/2021   33   NOTICE of Filing Discovery Letter by USA as to WILLIAM POPE, MICHAEL
                  POPE (Attachments: # 1 Notice to Counsel/Party Discovery Letter)(Steiner, Jacob)
                  (Entered: 08/14/2021)
08/18/2021   34   Joint MOTION to Continue August 23, 2021 Status Conference by USA as to
                  WILLIAM POPE, MICHAEL POPE. (Attachments: # 1 Text of Proposed
                  Order)(Steiner, Jacob) (Entered: 08/18/2021)
08/18/2021   35   JOINT MOTION to Exclude Time Under the Speedy Trial Actby USA as to
                  WILLIAM POPE, MICHAEL POPE. (See Docket Entry 34 to View Document).
                  (zhsj) (Entered: 08/19/2021)
08/19/2021        MINIUTE ORDER as to defendants WILLIAM POPE (1) and MICHAEL POPE (2):
                  Upon consideration of the motion for continuance 34 , the status conference currently
                  scheduled for August 23, 2021 is hereby VACATED. The status conference is hereby
                  RESCHEDULED for October 18, 2021 @ 9:30am before Judge Rudolph Contreras
                  via Zoom Video. It is further ORDERED that pursuant the agreement contained in the


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                  motion for a continuance 35 , the Speedy Trial Act is tolled through October 18, 2021
                  in the interest of justice. (So Ordered Judge Rudolph Contreras on 8/19/2021 (tj)
                  (Entered: 08/19/2021)
09/22/2021   38   NOTICE of September 14 Memorandum Regarding Status of Discovery by USA as to
                  WILLIAM POPE, MICHAEL POPE (Attachments: # 1 Memorandum in Support
                  August 24 Memorandum)(Steiner, Jacob) (Entered: 09/22/2021)
10/14/2021   41   NOTICE OF SUBSTITUTION OF COUNSEL as to USA. Attorney Mitchell, Mike
                  added. Substituting for attorney Jacob R. Steiner (Mitchell, Mike) (Entered:
                  10/14/2021)
10/14/2021   42   Unopposed MOTION to Continue Status Conference by USA as to WILLIAM POPE,
                  MICHAEL POPE. (Mitchell, Mike) (Entered: 10/14/2021)
10/14/2021   43   UNOPPOSED MOTION to Exclude Time Under the Speedy Trial Act by USA as to
                  WILLIAM POPE, MICHAEL POPE. (See Docket Entry 42 to View Document).
                  (zhsj) (Entered: 10/15/2021)
10/15/2021        MINUTE ORDER as to WILLIAM POPE (1) and MICHAEL POPE (2): Upon
                  consideration of the motion for continuance 42 , 43 the status conference currently
                  scheduled for October 18, 2021 is hereby VACATED. The status conference is
                  hereby RESCHEDULED for January 11, 2022 @ 2:00pm before Judge Rudolph
                  Contreras via Zoom Video. It is further ORDERED that pursuant the agreement
                  contained in the motion for a continuance, the Speedy Trial Act is tolled through
                  January 22, 2022 in the interest of justice. (So Ordered Judge Rudolph Contreras on
                  10/15/2021). (tj) (Entered: 10/15/2021)
10/21/2021   44   NOTICE OF DISCOVERY STATUS by USA as to WILLIAM POPE, MICHAEL
                  POPE (Mitchell, Mike) (Entered: 10/21/2021)
11/10/2021   45   NOTICE Regarding Status of Discovery by USA as to WILLIAM POPE, MICHAEL
                  POPE (Mitchell, Mike) (Entered: 11/10/2021)
11/10/2021   46   FIRST SUPERSEDING INDICTMENT as to WILLIAM POPE (1) count(s) 1s, 2s,
                  3s, 4s, 5s, 6s, 7s, 8s, MICHAEL POPE (2) count(s) 1s, 2s, 3s, 4s, 5s, 6s, 7s, 8s. (bb)
                  (Entered: 11/17/2021)
01/06/2022   49   MOTION to Substitute Attorney by WILLIAM POPE. (English, Gregory) (Entered:
                  01/06/2022)
01/06/2022        MINUTE ORDER granting 49 Motion to Substitute Attorney as to WILLIAM POPE:
                  It is hereby ORDERED that the motion to Substitute Attorney is granted. It is
                  FURTHER ORDERED that Terry Eaton is excused from further participation in this
                  case. It is FURTHER ORDERED that the Clerk shall enter the appearance of Gregory
                  B. English as court−appointed counsel for defendant WILLIAM POPE in this matter.
                  SO ORDERED. Signed by Judge Rudolph Contreras on 1/6/22. (lcrc2) (Entered:
                  01/06/2022)
01/11/2022        Minute Entry for proceedings held before Judge Rudolph Contreras:Arraignment as to
                  WILLIAM POPE (1) and MICHAEL POPE (2) held on 1/11/22. Defendants enter a
                  plea of NOT GUILTY to Counts 1s,2s,3s,4s,5s,6s,7s,8s of the Superseding Indictment
                  filed on 11/10/2022. Oral motion to continue this case for a period of 60 days is
                  GRANTED for reasons stated on the record. Next Status Conference is set for
                  3/11/2022 at 9:30 AM before Judge Rudolph Contreras via Zoom Video. Bond Status
                  of Defendants: Personal Recognizance with consent to appear by video; Court

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                  Reporter: Nancy Meyer; Defense Attorney: Gregory English for W. Pope; Bruce
                  Searby for defendant M. Pope; US Attorney: Michael Mitchell; (tj) (Entered:
                  01/12/2022)
02/15/2022   52   NOTICE REGARDING STATUS OF DISCOVERY AS OF FEBRUARY 2022 by USA
                  as to WILLIAM POPE, MICHAEL POPE (Mitchell, Mike) (Entered: 02/15/2022)
03/08/2022   53   MOTION to Continue Status Conference and Move for Excludable Delay by USA as
                  to WILLIAM POPE, MICHAEL POPE. (Mitchell, Mike) (Entered: 03/08/2022)
03/08/2022   54   MOTION for Excludable Day by USA as to WILLIAM POPE, MICHAEL POPE.
                  (See Docket Entry 53 to View Document) (zhsj) (Entered: 03/09/2022)
03/09/2022        MINUTE ORDER as to WILLIAM POPE (1) and MICHAEL POPE (2): Upon
                  consideration of the motion for continuance 53 , the status conference currently
                  scheduled for March 11, 2022 is hereby VACATED. The status conference is hereby
                  RESCHEDULED for May 19,2022 at 9:30am (EST) before Judge Rudolph Contreras.
                  It is further ORDERED that pursuant the agreement contained in the motion for a
                  continuance, the Speedy Trial Act is tolled through May 19, 2022 in the interest of
                  justice. (So Ordered Judge Rudolph Contreras on 3/9/2022). (tj) (Entered:
                  03/09/2022)
04/04/2022   55   NOTICE OF SUBSTITUTION OF COUNSEL as to USA. Attorney Crawford, Jason
                  M. added. (Crawford, Jason) (Entered: 04/04/2022)
05/11/2022   56   Joint MOTION to Continue Status Conference, Joint MOTION to Exclude Time
                  Under the Speedy Trial Act by USA as to WILLIAM POPE, MICHAEL POPE.
                  (Crawford, Jason) (Entered: 05/11/2022)
05/12/2022        MINUTE ORDER as to WILLIAM POPE (1) and MICHAEL POPE (2): Upon
                  consideration of the joint motion for a continuance 56 , the status conference currently
                  scheduled for May 19, 2022 at 9:30 is hereby VACATED. The status conference is
                  RESCHEDULED for July 20, 2022 at 2:00pm (EST) before Judge Rudolph Contreras
                  via zoom video. It is further ORDERED that pursuant the agreement contained in the
                  motion for a continuance, the Speedy Trial Act is tolled through July 20, 2022 in the
                  interest of justice. (So Ordered Judge Rudolph Contreras on 5/12/2022). (tj) (Entered:
                  05/12/2022)
06/29/2022   57   MOTION to Withdraw as Attorney by Gregory B. English. by WILLIAM POPE.
                  (English, Gregory) (Entered: 06/29/2022)
07/17/2022   60   RESPONSE by USA as to WILLIAM POPE re 57 MOTION to Withdraw as
                  Attorney by Gregory B. English. Request for Faretta Inquiry In Response To
                  Defendant William Popes Request To Proceed Pro Se (Attachments: # 1 Exhibit
                  Exhibits A−C)(Crawford, Jason) (Entered: 07/17/2022)
07/20/2022        Minute Entry for proceedings held before Judge Rudolph Contreras: Status
                  Conference as to WILLIAM POPE (1) held on 7/20/2022. Speedy trial is excluded
                  (XT) from 7/20/22 until 8/2/22 in the interest of justice as to WILLIAM POPE (1).
                  Faretta Hearing set for 8/2/2022 at 10:00 AM before Judge Rudolph Contreras via
                  Zoom. Bond Status of Defendant WILLIAM POPE (1): Continued on personal
                  recognizance/with consent to appear by video. US Attorney: Jason M. Crawford;
                  Defense Attorney: Gregory English; Court Reporter: Nancy Meyer. (zgdf) (Entered:
                  07/20/2022)
08/02/2022

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                  Minute Entry for proceedings held before Judge Rudolph Contreras:Status Conference
                  as to WILLIAM POPE held on 8/2/2022. Defendant consents to waive his
                  constitutional right to counsel. The court determines that the defendant is competent
                  to proceed without counsel, and the court will appoint stand−by counsel to assist the
                  defendant once confirmed. Defense Counsel Gregory English will remain as counsel
                  of record until stand−by counsel is confirmed. Speedy trial is excluded (XT) from
                  8/2/2022 to 9/1/2022 in the interest of justice. Next status conference is set for
                  9/1/2022 at 11:30 AM before Judge Rudolph Contreras via zoom video. Bond Status
                  of Defendant: Personal Recognizance with consent to appear virtually; Court
                  Reporter: Nancy Meyer; Defense Attorney: Gregory English; US Attorney: Jason M.
                  Crawford; (tj) (Entered: 08/02/2022)
08/08/2022   61   NOTICE OF ATTORNEY APPEARANCE: Nicole Ann Cubbage appearing for
                  WILLIAM POPE standby counsel (Cubbage, Nicole) (Entered: 08/08/2022)
09/01/2022        Minute Entry for video Status Conference held before Judge Rudolph Contreras as to
                  WILLIAM POPE (1) on 9/1/2022. Defendant shall file motions within 60 days.
                  Further Status Conference set for 11/4/2022 at 9:30 AM VTC before Judge Rudolph
                  Contreras. The court finds it in the interest of justice to toll the speedy trial clock from
                  9/1/2022 through 11/4/2022.Bond Status of Defendant: remains on personal
                  recognizance; Court Reporter: Lisa Griffith; Defense Attorney: Nicole A. Cubbage
                  (stand−by Counsel); US Attorney: Jason Crawford. (lsj) (Entered: 09/01/2022)
09/29/2022   64   MOTION to Access e−filing system by WILLIAM POPE. (Attachments: # 1 Text of
                  Proposed Order)(Cubbage, Nicole) (Entered: 09/29/2022)
09/30/2022        MINUTE ORDER granting in part 64 Defendant's Motion to Grant Access to
                  E−Filing System: It is hereby ORDERED that standby counsel Ms. Nicole Cubbage
                  shall be granted access to use the CM/ECF system. In order for the Court to grant Mr.
                  Pope access as a pro se party, he must submit a written motion "describing [his]
                  access to the internet, confirming the capacity to file documents and receive filings
                  electronically on a regular basis, and confirming that he... either has viewed the
                  Clerk's Office on−line tutorial or has been permitted to file electronically in other
                  federal courts." Local Criminal Rule 49(b). Accordingly, Mr. Pope may refile a
                  motion with the necessary information for the Court's consideration in accordance
                  with Local Rule 49(b), which may be found at:
                  https://www.dcd.uscourts.gov/court−info/local−rules−and−orders/local−rules. SO
                  ORDERED. Signed by Judge Rudolph Contreras on 9/30/22. (lcrc2) (Entered:
                  09/30/2022)
10/06/2022   66   Second MOTION to Access CM/ECF filing system Pro Se by WILLIAM POPE.
                  (Attachments: # 1 Text of Proposed Order)(Cubbage, Nicole) (Entered: 10/06/2022)
10/06/2022        MINUTE ORDER granting 66 Defendant's Motion for CM/ECF Credentials: It is
                  hereby ORDERED that Defendant William Pope (1) shall be granted access to use the
                  CM/ECF system. SO ORDERED. Signed by Judge Rudolph Contreras on 10/6/22.
                  (lcrc2) (Entered: 10/06/2022)
10/30/2022   67   MOTION to Modify Protective Order, MOTION to Compel Full Access to Discovery
                  by WILLIAM POPE. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Text of
                  Proposed Order)(Cubbage, Nicole) (Entered: 10/30/2022)
                  Main Document
                  Attachment # 1 Exhibit


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                  Attachment # 2 Exhibit
                  Attachment # 3 Exhibit
                  Attachment # 4 Text of Proposed Order
11/04/2022        Minute Entry for proceedings held before Judge Rudolph Contreras:Status Conference
                  as to WILLIAM POPE held on 11/4/2022. Parties inform the court of the status of this
                  action. Government counsel will file a response to defendant's motion to modify the
                  protective order by 11/14/22. Motion Hearing set for 12/2/2022 at 10:00 AM in
                  Telephonic/VTC before Judge Rudolph Contreras. Bond Status of Defendant:
                  Personal Recognizance; Court Reporter: Nancy Meyer; Defense Attorney: Defendant
                  appears pro se with stand by counsel Nicole Cubbage; US Attorney: Jason Crawford;
                  (tj) (Entered: 11/04/2022)
11/07/2022   70   REQUEST to Exclude Time Under the Speedy Trial Act by USA as to WILLIAM
                  POPE. (See Docket Entry 69 to View Document). (zhsj) (Entered: 11/08/2022)
11/12/2022   71   Memorandum in Opposition by USA as to WILLIAM POPE re 67 Motion to Modify,
                  Motion to Compel (Attachments: # 1 Exhibit A DiBiase Declaration, # 2 Exhibit B
                  Twitter Post)(Crawford, Jason) (Entered: 11/12/2022)
11/21/2022   72   REPLY TO OPPOSITION to Motion by WILLIAM POPE re 67 MOTION to Modify
                  Protective Order MOTION to Compel Full Access to Discovery (Attachments: # 1
                  Exhibit Exhibit 2)(Cubbage, Nicole) (Entered: 11/21/2022)
12/02/2022        Minute Entry for proceedings held before Judge Rudolph Contreras:Motion Hearing
                  held on 12/2/2022 re 67 MOTION to Modify Protective Order MOTION to Compel
                  Full Access to Discovery filed by WILLIAM POPE. Oral argument heard, and the
                  court's takes the motion under advisement. The court directs the parties to confer and
                  discuss a solution for defendant to have access to discovery in order to properly
                  prepare a defense in this matter. Next Status Conference is set for 2/3/2023 at 9:30
                  AM before Judge Rudolph Contreras. Bond Status of Defendant: Personal
                  Recognizance; Court Reporter: Nancy Meyer; Defense Attorney: Appearing Pro Se
                  (with stand−by counsel Nicole Cubbage); US Attorney: Jason M. Crawford; (tj)
                  (Entered: 12/02/2022)
01/04/2023   75   NOTICE OF ATTORNEY APPEARANCE Kelly Elizabeth Moran appearing for
                  USA. (Moran, Kelly) (Entered: 01/04/2023)
01/04/2023   76   NOTICE OF ATTORNEY APPEARANCE Kelly Elizabeth Moran appearing for
                  USA. (Moran, Kelly) (Entered: 01/04/2023)
02/02/2023   78   RESPONSE by WILLIAM POPE re 67 MOTION to Modify Protective Order
                  MOTION to Compel Full Access to Discovery STATUS UPDATE ON EFFORTS
                  MADE TO OBTAIN LOCAL DISCOVERY ACCESS (POPE, WILLIAM) (Entered:
                  02/02/2023)
02/03/2023        Minute Entry for virtual proceedings held before Judge Rudolph Contreras:Status
                  Conference as to WILLIAM POPE (1) and MICHAEL POPE (2) held on 2/3/2023.
                  Parties inform the court of the status of this action. Motion for severance to be filed by
                  defendant Michael Pope. Government response to motion filed by William Pope is
                  due by 2/10/2023. Speedy trial excluded (XT) from 2/3/23 to 3/3/23 as to defendant
                  MICHAEL POPE. Speedy trial is tolled as to defendant William Pope due to a
                  pending motion awaiting the courts ruling. Next status conference is set for 3/3/2023
                  at 9:30 AM before Judge Rudolph Contreras via zoom video. Bond Status of

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                  Defendant: Defendants 1 and 2: Personal Recognizance with consent to appear
                  virtually; Court Reporter: Nancy Meyer; Defense Attorney: Nicole Cuttage (Stand−by
                  Counsel) Deft 1: Bruce Searby for deft 1; US Attorney: Kelly Moran; (tj) (Entered:
                  02/03/2023)
02/10/2023   80   RESPONSE by USA as to WILLIAM POPE, MICHAEL POPE re 23 Unopposed
                  MOTION for Protective Order Response to Defendant's Status Update Regarding
                  Discovery Access (Moran, Kelly) (Entered: 02/10/2023)
02/17/2023   81   RESPONSE by WILLIAM POPE re 67 MOTION to Modify Protective Order
                  MOTION to Compel Full Access to Discovery RESPONSE TO THE
                  GOVERNMENTS CONTINUED OPPOSITION TO MODIFY THE PROTECTIVE
                  ODER AND COMPEL FULL ACCESS TO DISCOVERY, REPLY TO OPPOSITION
                  to Motion by WILLIAM POPE re 67 MOTION to Modify Protective Order
                  MOTION to Compel Full Access to Discovery (Attachments: # 1 Exhibit Exhibit 1: A
                  Flipbook of Still Images)(POPE, WILLIAM) (Entered: 02/17/2023)
02/21/2023   82   MOTION to Remove Designation of 'Sensitive' from Undercover MPD Videos and
                  Release them to the Public by WILLIAM POPE re 81 Response to document, Reply
                  to opposition to Motion, 72 Reply to opposition to Motion. (Attachments: # 1 Text of
                  Proposed Order Propose Order to Remove 'Sensitive' Designation from Video Files
                  Showing Undercover MPD inciting the January 6 Crowd) (POPE, WILLIAM).
                  Modified Text on 2/22/2023 (zhsj). (Entered: 02/21/2023)
03/01/2023   87   Attachment A Acceptance by WILLIAM POPE re 26 Protective Order. "Leave to File
                  Granted" by Judge Rudolph Contreras on 3/1/2023. (zhsj) (Entered: 03/03/2023)
03/02/2023   85   RESPONSE by WILLIAM POPE re 67 MOTION to Modify Protective Order
                  MOTION to Compel Full Access to Discovery, 82 MOTION UPDATE ON
                  DISCOVERY ACCESS ISSUES (POPE, WILLIAM) (Entered: 03/02/2023)
03/02/2023   86   RESPONSE by USA as to WILLIAM POPE, MICHAEL POPE re 82 MOTION in
                  response to defendant's motion to remove sensitivity designations (Moran, Kelly)
                  (Entered: 03/02/2023)
03/03/2023        Minute Entry for virtual proceedings held before Judge Rudolph Contreras: Status
                  Conference as to WILLIAM POPE (1) and MICHAEL POPE (2) held on 3/3/2023.
                  Speedy trial excludable (XT) from 3/3/23 to 4/3/23 as to defendant MICHAEL POPE
                  (2). Speedy trial is tolled as to defendant William Pope due to a pending motion
                  awaiting the courts ruling. Government's Declaration due by 3/17/23 as to WILLIAM
                  POPE (1). Defendant WILLIAM POPE response due one week later. Next status
                  conference set for 4/3/2023 at 2:00 PM before Judge Rudolph Contreras via zoom
                  video. Bond Status of Defendants 1 and 2: Personal Recognizance with consent to
                  appear virtually; Court Reporter: Sara Wick; Defense Attorney: Defense Attorney:
                  Nicole Cubbage (Stand−by Counsel) Deft 1: Bruce Searby for deft 2; US Attorney:
                  Kelly Moran. (zgf) (Entered: 03/03/2023)
03/17/2023   88   NOTICE by USA as to WILLIAM POPE, MICHAEL POPE (Attachments: # 1
                  Declaration)(Moran, Kelly) (Entered: 03/17/2023)
03/17/2023   89   MOTION for Extension of Time to FILE SUPPLEMENTAL MOTION REGARDING
                  THE DECLARATION OF THE UNITED STATES CAPITOL POLICE AND THE
                  PROTECTIVE ORDER by USA as to WILLIAM POPE, MICHAEL POPE. (Moran,
                  Kelly) (Entered: 03/17/2023)



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03/17/2023        MINUTE ORDER as to WILLIAM POPE (1) and MICHAEL POPE (2): Upon
                  consideration of 88 the Declaration of the General Counsel of the U.S. Capitol Police,
                  it is hereby ORDERED that the Government shall file a supplement to this declaration
                  concerning media accounts that other media organizations will be given similar access
                  to U.S. Capitol Police surveillance footage as that given to Tucker Carlson on or
                  before March 24, 2023. SO ORDERED. Signed by Judge Rudolph Contreras on
                  3/17/23. (lcrc2) (Entered: 03/17/2023)
03/24/2023   90   NOTICE MEMORANDUM IN SUPPORT OF THE UNITED STATES CAPITOL
                  POLICE DECLARATION OF THOMAS A. DIBIASE AND THE PROTECTIVE
                  ORDER of Supplemental Motion Regarding the Declaration of the United States
                  Capitol Police and the Protective Order by USA as to WILLIAM POPE, MICHAEL
                  POPE re 88 Notice (Other), 89 MOTION for Extension of Time to FILE
                  SUPPLEMENTAL MOTION REGARDING THE DECLARATION OF THE UNITED
                  STATES CAPITOL POLICE AND THE PROTECTIVE ORDER (Moran, Kelly)
                  Modified on 3/27/2023 (znmw). (Entered: 03/24/2023)
03/27/2023   92   MOTION TO CONTINUE by WILLIAM POPE re Status Conference, Speedy Trial −
                  Excludable Start Set Hearings,,, MOTION TO POSTPONE STATUS HEARING DUE
                  TO JURY DUTY (Attachments: # 1 Text of Proposed Order Proposed Order)(POPE,
                  WILLIAM) Modified on 3/27/2023 to correct event type (ztj). (Entered: 03/27/2023)
03/28/2023   94   MOTION to Intervene by PRESS COALITION as to WILLIAM POPE, MICHAEL
                  POPE. "Leave to File Granted" by Judge Rudolph Contreras on 3/28/2023. (zhsj)
                  (Entered: 03/28/2023)
03/29/2023        MINUTE ORDER as to WILLIAM POPE (1) granting 92 motion to continue the
                  status conference currently scheduled for April 3, 2023 at 2:00pm. The Status
                  Conference is hereby RESCHEDULED for April 13, 2023 at 3:30 PM before Judge
                  Rudolph Contreras via zoom video. Upon consent of the parties, speedy trial is hereby
                  excluded (XT) from April 3, 2023 to April 13, 2023 in the interest of justice. (So
                  Ordered Judge Rudolph Contreras on 3/29/2023). (tj) Modified on 4/27/2023 to
                  include the defendant's name (zcdw). (Entered: 03/29/2023)
03/31/2023   95   Memorandum in Opposition by WILLIAM POPE re 67 Motion to Modify, Motion to
                  Compel, 82 Response to motion,, Motion for Miscellaneous Relief, 89 Motion for
                  Extension of Time to RESPONSE TO THE GOVERNMENTS MEMORANDUM AND
                  UPDATE ON OTHER MATTERS CONCERNING DISCOVERY (Attachments: # 1
                  Exhibit Exhibit 1 − Details of Video Leak)(POPE, WILLIAM) (Entered: 04/01/2023)
04/11/2023   96   MOTION for Extension of Time to File Response/Reply as to 94 MOTION to
                  Intervene by USA as to WILLIAM POPE, MICHAEL POPE. (Moran, Kelly)
                  (Entered: 04/11/2023)
04/13/2023   99   REPLY in Support by WILLIAM POPE re 96 MOTION for Extension of Time to
                  File Response/Reply as to 94 MOTION to Intervene , 94 MOTION to Intervene
                  MEMORANDUM IN SUPPORT OF THE GOVERNMENTS MOTION FOR AN
                  EXTENTION OF TIME TO RESPOND TO THE PRESS COALITIONS MOTION TO
                  INTERVENE (POPE, WILLIAM) (Entered: 04/13/2023)
04/13/2023        Minute Entry for proceedings held before Judge Rudolph Contreras: Status
                  Conference as to WILLIAM POPE (1), MICHAEL POPE (2) held on 4/13/2023.
                  Parties inform the court of the status of this action. Parties to meet and confer on
                  discovery issue by 4/27/23. Defendant William Pope requests access to video
                  evidence. Parties consent to the exclusion of speedy trial (XT) from 4/13/23 to

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                   5/12/23 in the interest of justice. Next Status Conference is set for 5/12/2023 at 11:00
                   AM before Judge Rudolph Contreras via zoom. Bond Status of Defendant: on
                   Personal Recognizance; Court Reporter: Nancy Meyer; Defense Attorney: William
                   Pope (Pro Se) with standby counsel Nicole Cubbage; Bruce Searby for defendant
                   Michael Pope; US Attorney: Kelly Moran; (tj) (Entered: 04/28/2023)
04/18/2023   100   Memorandum in Opposition by USA as to WILLIAM POPE, MICHAEL POPE re 94
                   Motion for Miscellaneous Relief Opposition to Press Coalition Motion to Intervene
                   (Moran, Kelly) (Entered: 04/18/2023)
04/25/2023   101   REPLY in Support by PRESS COALITION as to WILLIAM POPE, MICHAEL
                   POPE re 94 MOTION to Intervene (Tobin, Charles) (Entered: 04/25/2023)
04/25/2023   102   REPLY by WILLIAM POPE re 100 Memorandum in Opposition, 101 Reply in
                   Support REPLY TO THE GOVERNMENTS OPPOSITION TO THE PRESS
                   COALITIONS MOTION TO INTERVENE (POPE, WILLIAM) (Entered: 04/25/2023)
04/26/2023   103   ORDER as to WILLIAM POPE (1) denying 67 Defendant's Motion to Modify
                   Protective Order. See document for details. Signed by Judge Rudolph Contreras on
                   4/26/23. (lcrc2) (Entered: 04/26/2023)
04/27/2023   104   Joint STATUS REPORT Regarding Defendant Access to Discovery by USA as to
                   WILLIAM POPE, MICHAEL POPE (Moran, Kelly) (Entered: 04/27/2023)
05/03/2023   105   RESPONSE TO ORDER OF THE COURT by WILLIAM POPE re 16 Order Setting
                   Conditions of Release MOTION TO MODIFY CONDITIONS OF RELEASE
                   (Attachments: # 1 USCA Order Proposed Order)(POPE, WILLIAM) (Entered:
                   05/03/2023)
05/03/2023         MINUTE ORDER as to WILLIAM POPE: Upon consideration of 105 Defendant
                   William Pope's Motion to Modify Conditions of Release, it is hereby ORDERED that
                   the Government shall provide notice to the Court, on or before May 5, 2023, whether
                   it opposes a temporary modification of Defendant's conditions of release to permit
                   him to travel to D.C. on May 8, 2023 for the purpose of viewing Capitol CCTV
                   footage, per Defendant's assertion in his motion that he was invited to do so by
                   Congress. SO ORDERED. Signed by Judge Rudolph Contreras on 5/3/23. (lcrc2)
                   (Entered: 05/03/2023)
05/03/2023   106   RESPONSE TO ORDER OF THE COURT by WILLIAM POPE re Order,,
                   SUPPORT FOR MODIFIED RELEASE CONDITIONS (POPE, WILLIAM) (Entered:
                   05/03/2023)
05/03/2023   107   NOTICE OF APPEAL (Interlocutory) by WILLIAM POPE re 103 Order on Motion
                   to Modify the Protective Order. Fee Status: No Fee Paid, Defendant is Represented
                   CJA. Parties have been notified. (zhsj) (Entered: 05/04/2023)




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                        :
                                                 :       Criminal Action No.: 21-0128 (RC)
       v.                                        :
                                                 :       Re Document No.:       67
WILLIAM POPE,                                    :
                                                 :
       Defendant.                                :

                                             ORDER

              DENYING DEFENDANT’S MOTION TO MODIFY PROTECTIVE ORDER

       Defendant William Pope was indicted on charges arising out of his alleged participation

in the riot at the Capitol on January 6, 2021. See Superseding Indictment, ECF No. 46. On the

Government’s unopposed motion, see Gov’t’s Unopposed Mot. Protective Order, ECF No. 23,

the Court entered a protective order to govern discovery under Fed. R. Crim. P. 16(d)(1), see

Protective Order, ECF No. 26. Among other things, the protective order provides for differential

treatment of case-specific and global discovery material bearing different sensitivity

designations. 1 Specifically, as relevant here, it permits Defendant to possess “Sensitive”

material but only permits Defendant to view “Highly Sensitive” material. See id. at 2–4. The

Highly Sensitive material in question is U.S. Capitol Police (“USCP”) CCTV surveillance



       1
          Case-specific discovery refers to discovery that is particular to Defendant, while global
discovery refers to discovery that has been made available to all January 6 defendants. See
Gov’t’s Req. Faretta Inquiry at 2, ECF No. 60. The Government made three case-specific
productions, each of which included material designated as “Sensitive” or “Highly Sensitive.”
Id. at 3–4. With respect to global discovery, the Government placed “24,000 files consisting of
body-worn and hand-held camera footage from five law enforcement agencies and surveillance-
camera footage from three law enforcement agencies” into an “evidence.com video repository”
managed and administered by the Federal Public Defender for the District of Columbia. Id. at 4.
Over 20,000 of these files consist of U.S. Capitol Police CCTV surveillance footage designated
as “Sensitive” or “Highly Sensitive.” Id. All other global discovery materials—totaling almost
2.2 million files—were provided via a Relativity database. See id. at 5.
                                                 1


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footage of the Capitol on January 6. 2 While the protective order permits Defendant to view

material designated Highly Sensitive, it requires that he do so only under supervision of defense

counsel or an attorney, investigator, paralegal, or support staff person employed by defense

counsel. Id. The order specifies that defense counsel, may, after notice to the Government,

“supervise Defendant by allowing access to Highly Sensitive materials through a cloud-based

delivery system that permits Defendant to view the materials but does not permit Defendant the

ability to download.” Id. at 4. Now proceeding pro se, 3 Defendant moves to modify the

protective order to permit him to directly access and possess USCP surveillance video designated

Highly Sensitive. See generally Def.’s Mot. Modify Protective Order (“Def.’s Mot.”), ECF No.

67.

       Federal Rule of Criminal Procedure 16 “requires the Government to produce, upon the

defendant’s request, any documents and data that are material to preparing the defense.” United

States v. McCaughey, 534 F. Supp. 3d 132, 137 (D.D.C. 2021) (citation omitted); see Fed. R.

Crim P. 16(a)(1)(A)–(G). However, it also provides the Court discretion to regulate discovery,

permitting it to “deny, restrict, or defer discovery or inspection, or grant other appropriate relief”



       2
        Other types of materials were also designated as Highly Sensitive. See, e.g., Gov’t’s
Req. Faretta Inquiry at 4 (listing Grant Jury material produced to Defendant as designated
Highly Sensitive). However, Defendant’s motion focuses exclusively on USCP surveillance
video marked Highly Sensitive, so the Court’s analysis also focuses on such material.
       3
          On June 29, 2021, Defendant’s counsel moved to withdraw and indicated that
Defendant intended to proceed pro se. See Mot. Withdraw at 1, ECF No. 57. The Government
did not oppose Defendant’s motion, but emphasized that, before allowing Defendant to proceed
pro se, the Court should “correct Defendant’s faulty assumption” that proceeding pro se would
entitle him to ignore the protective order and gain direct access to the discovery database.
Gov’t’s Req. Faretta Inquiry at 1. The Court held a Faretta hearing at which it found Defendant
competent to waive counsel and ordered standby counsel appointed, while also stating that the
protective order would remain in place pending any motion to modify it after Defendant had a
chance to confer with standby counsel. See Minute Order (Aug. 2, 2022). Nicole Cubbage was
thereafter appointed as standby counsel. See Notice of Att’y Appearance, ECF No. 61.
                                                  2


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on a showing of “good cause.” Fed. R. Crim. P. 16(d)(1). “[A]mong the considerations to be

taken into account by the court [are] the safety of witnesses and others, a particular danger of

perjury or witness intimidation, [and] the protection of information vital to national security.”

United States v. Cordova, 806 F.3d 1085, 1090 (D.C. Cir. 2015) (citation omitted). “[O]nce a

showing of good cause has been made, the court has relatively unconstrained discretion to

fashion an appropriate protective order.” United States v. Johnson, 314 F. Supp. 3d 248, 251

(D.D.C. 2018).

       Here, Defendant argues that the protective order’s restrictions violate his Sixth

Amendment right to conduct his own defense. 4 See Def.’s Mot. at 1–5. While the Court




       4
          Defendant also argues that the requirement for standby counsel to supervise his access
to Highly Sensitive material violates his Equal Protection and Due Process rights. See Def.’s
Mot. at 2–4. These arguments are without merit. A “class of one” Equal Protection claim
alleges that the party “has been intentionally treated differently from others similarly situated and
that there is no rational basis for the difference in treatment.” Village of Willowbrook v. Olech,
528 U.S. 562, 564 (2000). But Defendant focuses exclusively on comparing his situation to that
of represented defendants, and makes no allegations that similarly situated pro se defendants
have been treated differently without any rational basis. See Def.’s Mot. at 5–6; see also Gov’t’s
Opp’n at 7–8, ECF No. 71 (explaining that “none of the other 900+ January 6 defendants have
received . . . direct unsupervised access to global discovery” and that “standby counsel has been
appointed [to facilitate access to discovery] in every [January 6] case” involving a pro se
defendant).

        With respect to Defendant’s Due Process argument, Defendant does not contest that, in
addition to the ability to possess and control Sensitive material and still images of video
designated Highly Sensitive, he has full access to view all Highly Sensitive material, even
though he must undertake procedures in order to do so under the supervision of standby counsel.
Instead, Defendant alleges that a journalist released a video designated as Highly Sensitive, and
that this somehow establishes a Brady violation. See Def.’s Mot. at 19. Setting aside the fact
that Defendant has access to Highly Sensitive material so there is no allegation that anything was
actually withheld, the protective order explicitly exempts from its requirements “[m]aterials that
the defense obtains by means other than discovery.” Protective Order ¶ 11. Absent specific
allegations of exculpatory material actually withheld, the Court can see no violation of the
Government’s continuing obligations under Brady v. Maryland, 373 U.S. 83 (1963). See United
States v. Ruiz, 536 U.S. 622, 629 (2002) (“[T]he Constitution does not require the prosecutor to
share all useful information with the defendant.”).
                                                 3


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acknowledges that the protective order’s restrictions may pose some inconvenience to

Defendant, it finds that they are based on good cause and do not violate Defendant’s right to

conduct his defense.

       The Government has established good cause for the requirement that standby counsel

mediate Defendant’s access to USCP surveillance footage designated Highly Sensitive. The

Government submits a declaration from Thomas A. DiBiase, the General Counsel of the USCP.

See DiBiase Decl., Ex. A to Gov’t’s Opp’n, ECF No. 71-1. Mr. DiBiase, quoting language

USCP has included in motions for protective orders in criminal cases in D.C. Superior Court,

explains that “the purpose of the [Capitol surveillance] cameras is to assist in the maintenance of

national security by detecting threats to U.S. Congressmen, their staff, and constituents, deterring

and preventing terrorism, and providing for the safety and security of the Capitol Building and

Grounds.” Id. ¶¶ 8–9. He goes on to explain that USCP has “significant concerns with the

release of any of its footage to defendants in the Capitol attack cases unless there are safeguards

in place to prevent its copying and dissemination.” Id. ¶ 14. This is based on USCP’s awareness

that participants in the January 6 riot made efforts to “gather information regarding the interior of

the U.S. Capitol, including references to the tunnels below the Grounds and maps of the

building’s layout.” Id. He explains USCP’s concern that “unfettered access to hours of

extremely sensitive information” would result in “vulnerabilities and security weaknesses of the

U.S. Capitol being collected, exposed and passed on to those who might wish to attack the

Capitol again.” Id. On this basis, and in line with the approach taken by other courts in this

District, see, e.g., Min. Order, United States v. Clark, No. 22-cr-409 (Feb. 8, 2023) (denying pro

se January 6 defendant “unrestricted access to the online discovery databases”); Order at 3–4,

United States v. White, No. 21-cr-563 (Oct. 17, 2022) (appointing standby counsel to facilitate



                                                 4


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pro se January 6 defendant’s access to discovery consistent with the protective order), the Court

finds that good cause exists for the protective order’s requirement that Defendant have

supervised, view-only access to Highly Sensitive CCTV footage, see United States v. Concord

Mgmt. & Consulting, 404 F. Supp. 3d 67, 73 (D.D.C. 2019) (“It is well established that

protective orders are appropriate where the disclosure of discovery could jeopardize the national

security of the United States . . . .”).

        To be sure, as Defendant points out, the good cause analysis is complicated somewhat by

recent reports that leadership in the House of Representatives has provided access to view the

CCTV footage to personnel from Tucker Carlson Tonight, a Fox News television show. See

Def.’s Update Disc. Access Issues at 1–2, ECF No. 85; Mike Allen, McCarthy gives Tucker

Carlson access to trove of Jan. 6 riot tape, Axios, Feb. 20, 2023,

https://www.axios.com/2023/02/20/kevin-mccarthy-tucker-carlson-jan-6-riot-footage. However,

according to a supplemental declaration from Mr. DiBiase, House leadership only provided

personnel from the show access to view the footage using terminals in a House Office Building,

and there only while “supervised by staff from [the Committee on House Administration].”

DiBiase Suppl. Decl. ¶¶ 10–11, ECF No. 88-1. Mr. DiBiase explains that he was “informed that

. . . no footage had been physically turned over to the show,” id. ¶ 11, though he acknowledges

that approximately forty-one clips were ultimately shown during the Tucker Carlson Tonight

show on March 6 and March 7, 2023, see id. ¶ 14. Still, Mr. DiBiase states that just one of those

clips was designated Sensitive, and that clip was shown to him and approved for release ahead of

time. See id.

        There is considerable uncertainty as to whether and how House leadership will make any

future disclosures. Many reports suggest that House leadership will proceed cautiously, sensitive



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to the same concerns animating the Court’s finding of good cause. See, e.g., Emily Brooks &

Mike Lillis, McCarthy, GOP pump brakes on release of Jan. 6 footage to Tucker Carlson, THE

HILL, Feb. 28, 2023, https://thehill.com/homenews/house/3878242-mccarthy-gop-pump-brakes-

on-release-of-jan-6-footage-to-tucker-carlson/. 5 Others suggest a somewhat more cavalier

approach. See, e.g., Lawrence Richard, McCarthy says Republicans will ‘slowly roll out’ Jan. 6

footage to ‘every’ news agency: ‘Goal is transparency,’ Fox News, Mar. 13, 2023,

https://www.foxnews.com/politics/mccarthy-republicans-slowly-roll-out-jan-6-footage-every-

news-agency-goal-transparency. 6 However this dynamic situation evolves, at this juncture, the

parties point to no additional disclosure of non-public CCTV footage beyond the mediated

access provided by House leadership to the Tucker Carlson Tonight show. See Gov’t’s Mem.

Supp. DiBiase Suppl. Decl. and Protective Order at 1, ECF No. 90 (“Upon information and

belief, no media organizations other than the [Tucker Carlson Tonight show] has been given




       5
         For example, this article quotes Speaker of the House Kevin McCarthy as saying,
“[w]e’re working through [the footage]. We work with the Capitol Police as well, so we’ll make
sure security is taken care of.” Brooks & Lillis. It reports that Speaker McCarthy “stressed” that
Tucker Carlson Tonight personnel were not interested in footage showing “exit routes.” Id. It
also quotes Representative Barry Loudermilk, the chairman of the House Administration
Committee on Oversight, as saying that he and others were “working on putting protocols
together and policies and procedures and schedules” to govern footage disclosures. Id.
Representative Loudermilk also described the Tucker Carlson show’s access as limited and
subject to security review, saying: “It’s basically controlled access to be able to view tapes.
Can’t record, can’t take anything with you. Then they will request any particular clips that—that
they may need, and then we’ll make sure that there’s nothing sensitive, nothing classified—you
know, escape routes.” Id.
       6
         Notably, even in the interview reported on in this article, Speaker McCarthy suggests
that news agencies only would be able to obtain access to the footage by coming to view it at the
Capitol: “I didn’t give [Carlson] the tapes, I allowed him to come see them, just like an exclusive
with anybody else. . . . We will slowly roll out to every individual news agency [so] they could
come see the tapes as well.” Richard.

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access to the material at issue in this case.”). 7 The fact of that mediated access alone, based on

the information presently available to the Court, does not defeat the security interest advanced by

the protective order in preventing unmediated access to Highly Sensitive material by Defendant. 8

Cf. United States v. Cudd, 534 F. Supp. 3d 48, 54 (D.D.C. 2021) (“[T]hat video footage of the

January 6 events is publicly available does not diminish the need for confidentiality of the

[CCTV] footage . . . .”).




       7
         It also bears mention that Tucker Carlson reportedly no longer hosts a show on Fox
News. See Oliver Darcy & Marshall Cohen, Tucker Carlson Out at Fox News, CNN, Apr. 24,
2023, https://www.cnn.com/2023/04/24/media/tucker-carlson-fox-news/index.html.
       8
          Defendant has separately moved to remove the Sensitive designation from certain
footage in order to share exhibits with news organizations, based on his belief that “the media
and the public should not have to rely on [his] descriptions [of this footage] alone” and the
“public interest and concern regarding these exhibits is understandably high.” Def.’s Mot.
Remove Sensitive Designations at 1–2, 4, ECF No. 82; see also Def.’s Update Disc. Access
Issues at 4 (“My motion seeks to unseal [certain footage] to allow the American people to see
exactly what happened.”). At the same time, Defendant acknowledges that he does not
understand and feels no obligation to protect, beyond following the protective order, the Court’s
interest in preventing pretrial publicity that could prejudice the parties, witnesses, or third parties
involved in this case or any of the many other January 6 cases. See Def.’s Resp. Gov’t’s Mem.
(“Def.’s Suppl. Mem.”) at 7, ECF No. 95 (“First off, I do not know if [an ethical code on pretrial
publicity] exist[s], as the government tends to make things up. . . . I am not an attorney and have
no intention to become one, and I do not know what the ethical standards of the lawyering trade
are.” (footnotes omitted)). This bolsters the Court’s finding of good cause to prevent Defendant
from obtaining unfettered access to footage designated Highly Sensitive. See Gannett Co. v.
DePasquale, 443 U.S. 368, 378 (1979) (explaining that “a trial judge has an affirmative
constitutional duty to minimize the effects of prejudicial pretrial publicity” and accordingly “may
surely take protective measures even when they are not strictly and inescapably necessary”);
United States v. Cudd, 534 F. Supp. 3d 48, 56 (D.D.C. 2021) (rejecting January 6 defendant’s
“concern . . . about the limitations on her ability to try this case in the court of public opinion
pretrial through dissemination of selected evidence” under a similar protective order on grounds
that “[t]he Court’s priority is to ensure fair criminal trials to the Government, [the defendant],
and other defendants related to the January 6 incident, not cater to parties’ interests in selective
disclosures to the media” and “pretrial publicity of discovery in this case may injure other
defendants, witnesses, and third parties whose personal information was collected in the
Government’s investigation”).


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       In addition, the protective order’s restrictions do not violate Defendant’s right to conduct

his defense. Under the Sixth Amendment, a pro se defendant has the right to “control the

organization and content of his own defense, to make motions, to argue points of law, to

participate in voir dire, to question witnesses, and to address the court and the jury at appropriate

points in the trial.” McKaskle v. Wiggins, 465 U.S. 168, 174 (1984). However, the Court

“may—even over objection by the accused—appoint a ‘standby counsel to aid the accused.”

Farretta v. Cal., 422 U.S. 806, 834 n.46 (1975). Still, a pro se defendant “is entitled to preserve

actual control over the case he chooses to present to the jury,” so participation by standby

counsel over the defendant’s objection must not “substantially interfere with any significant

tactical decisions” made by the defendant. McKaskle v. Wiggins, 465 U.S. 168, 178 (1984).

       At the outset, it bears repeating that Defendant has full access to possess all Sensitive

materials and to view all Highly Sensitive material under supervision by standby counsel. See

Protective Order ¶¶ 4–6. In addition, Defendant may create still images from Highly Sensitive

footage for use in this case. See Gov’t’s Resp. to Def.’s Status Report (“Gov’t’s Suppl. Mem.”)

at 4, ECF No. 80. The protective order also provides for a process by which Defendant can

dispute a sensitivity designation or seek redactions that would reduce or eliminate a sensitivity

designation. 9 See Protective Order ¶ 8.

       Defendant explained during a December 2, 2022 conference that he is primarily

frustrated by technological delays in gaining access to view large volumes of Highly Sensitive

material due to the fact that he resides in Topeka, Kansas, while standby counsel, who provides

him viewing access through a cloud-based service, is based in Washington D.C. At the Court’s



       9
         Indeed, as noted supra note 8, Defendant has already moved to remove the Sensitive
designation from certain footage. See generally Def.’s Mot. Remove Sensitive Designations.


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suggestion, Defendant explored options for a local attorney to assist standby counsel by

supervising Defendant in person, thereby eliminating any remote-access delays. See generally

Def.’s Status Update, ECF No. 78. Defendant identified a local attorney located approximately

35 minutes away from his home that could provide Defendant a conference room and supervise

him for several hours per week. 10 Id. at 9–10.

       The Government blesses this option as “eminently reasonable,” Gov’t’s Suppl. Mem. at

2, but Defendant complains that traveling the 35 minutes to the office of this attorney, whom he

chose to contact in the first place, “would cost [him] time and money” and therefore constitutes a

“Jim Crow era poll tax[].” Def.’s Status Report at 11. Defendant’s decision to reject this

available option to enhance the efficiency of his review of Highly Sensitive material does not

alter the Court’s conclusion that the protective order’s restrictions are based on good cause and

do not violate Defendant’s right to conduct his defense. Defendant retains access to review

Highly Sensitive material, and any inconvenience associated with the requirement for standby

counsel to supervise that review merely reflects an appropriate balance, envisioned by the

Federal Rules of Criminal Procedure, between Defendant’s entitlement to discovery of evidence

“material” to his defense and “the protection of information vital to the national security.” Fed.

R. Crim. P. 16(a)(1)(E); id. Advisory Comm. Notes to 1966 Amendment; cf. United States v.

Workman, No. 18-cr-20, 2019 WL 276843, at *2 (W.D. Va. Jan. 22, 2019) (“Although

[defendant] argues that the requirement that he meet with his counsel to review the discovery

materials is inconvenient and burdensome because he will have to take approximately 50 hours




       10
          As reported by Defendant, the attorney agreed to accommodate him for four hours per
week and “believe[s]” that he will be able to accommodate him for eight or more hours per week
after moving offices this month. See Def.’s Status Report at 9–10. The Court remains willing to
appoint this or another local attorney to assist Defendant at his request.
                                                  9


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off work to do so, the hardship to him is relatively minor in light of the potential for harm to the

government’s witnesses.”).

       Contrary to Defendant’s overheated complaints of injury from the protective order, see,

e.g., Def.’s Update Disc. Access Issues at 8–9 (claiming that the Government, in seeking to

enforce the protective order, has “behaved like rabid outlaws rushing the city jail in a western

movie, whooping and hollering for this court to violate my Constitutional rights and to rush me

to the nearest tree with a noose around my neck,” and comparing this “deviance from justice” to

“the institution of slavery, the brutalization of native Americans, and the internment of Japanese-

Americans”), standby counsel simply acts as a conduit to provide Defendant viewing access to

Highly Sensitive material, a role that involves no interference with Defendant’s tactical decisions

whatsoever. See United States v. Williamson, No. 20-cr-195, 2021 WL 5178853, at *2 (D.D.C.

Nov. 8, 2021) (finding that order requiring standby counsel to review and file all pretrial motions

to prevent frivolous motions does not violate defendant’s ability to conduct his own defense). As

another court in this District recently explained in a January 6 case, standby counsel’s “narrow”

role of facilitating access to discovery does not “in any way impact [Defendant’s] ability to

‘present [his] own case in [his] own way.” Order at 3, United States v. White, No. 21-cr-563

(Oct. 17, 2022) (quoting McKaskle, 465 U.S. at 177).

       For the foregoing reasons, it is hereby ORDERED that Defendant’s Motion to Modify

the Protective Order, ECF No. 67, is DENIED.

       SO ORDERED.


Dated: April 26, 2023                                               RUDOLPH CONTRERAS
                                                                    United States District Judge




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             UNITED STATES DISTRICT COURT FOR THE DISTRICT
                              OF COLUMBIA


UNITED STATES OF AMERICA,                                Case No.: 1:21-cr-00128-RC


                  v.
WILLIAM ALEXANDER POPE,

                       Defendant .


                 MOTION TO MODIFY THE PROTECTIVE ORDER
                 AND TO COMPEL FULL ACCESS TO DISCOVERY


I, William Pope, pursuant to Rule 16(d)(1) of the Federal Rules of Criminal Procedure respectfully

request this Honorable Court to modify the existing protective order in this case concerning the

disclosure and retention of discovery deemed sensitive and highly sensitive in this matter; and

respectfully request the government be compelled to fulfill their Brady obligations and provide me

full access to that discovery through the Relativity and evidence.com indexes that is equivalent to

access granted officers of the court in other January 6 cases.

                                            OVERVIEW

       The sixth amendment was enacted to ensure American citizens have an absolute right to be

informed about the nature and the cause of accusations brought against them in legal proceedings,

and that they my contest those accusations in court. The sixth amendment also grants that

defendants have a right to legal counsel. However, this does not mean a defendant must be

represented by counsel. Our Supreme Court has ruled the State must not “thrust counsel on the

accused, against his considered wish,” and that counsel must not be “interposed between an

unwilling defendant and his right to defend himself personally” (Faretta v. California, 422 U.S. 820

(1975)):



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       The Sixth Amendment does not provide merely that a defense shall be made for the accused;

       it grants to the accused personally the right to make his defense. It is the accused, not

       counsel, who must be "informed of the nature and cause of the accusation," who must be

       "confronted with the witnesses against him," and who must be accorded "compulsory

       process for obtaining witnesses in his favor." Although not stated in the Amendment in so

       many words, the right to self-representation—to make one's own defense personally—is

       thus necessarily implied by the structure of the Amendment.

       Faretta 422 U.S. 818 (1975) also noted of the sixth amendment that “because these rights

are basic to our adversary system of criminal justice, they are part of the ‘due process of law’ that is

guaranteed by the Fourteenth Amendment to defendants in the criminal courts of the States.”

       So, to deny me the right to personally confront accusations against me, would also deny me

my right to due process.

       This honorable court has correctly recognized my right to represent myself, but the question

remains before the court whether I will be allowed to exercise this right in full or whether the

government will succeed in making it a hollow right.

       The due process of the fifth and fourteenth amendments also includes the right to examine

evidence, including favorable evidence. Yet in the January 6 cases, the government seeks to put

conditions on defendants who exercise their sixth amendment right to self-represent. Such

conditions would prevent Pro Se defendants from directly accessing discovery, including

exculpatory discovery, and hinder them from adequately preparing their defense.

       The great Americans who enacted our sixth amendment did not make it conditional on the

whims or wishes of the prosecution. The constitutional rights of defendants to be informed about

the nature of accusations and confront them are recognized as absolute, and legal proceedings –

such as the one we are engaged in now – are the very context where these sixth amendment rights




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were intended to be exercised. To confront accusations by the government, defendants must have

due process under law, which includes access to discovery. By restricting a Pro Se defendant’s fifth

and fourteenth amendment rights to due process of discovery, the government is effectually

punishing defendants who choose to represent themselves, which denies the fourteenth amendment

right of Pro Se defendants to have equal protection under the law.

       The government has circumvented my Pro Se rights by creating two, unequal systems of

discovery access. One is a system of full access to discovery granted to representative counsel in

their capacity as officers of the court on behalf of January 6 defendants. The other is a system of

restricted discovery access forced upon Pro Se defendants, who having exercised their right to

represent themselves are recognized as the officers of the court in their own cases.

       Here in Topeka, five blocks from my house, is St. Mark’s A.M.E. Church – a physically

modest limestone and brick building where a railroad welder named Oliver Brown once preached.

A couple blocks beyond St. Mark’s is the weathered McKinley Elementary School, which was

once segregated and now is boarded up.

       Seventy years ago, American society separated everything from rail cars to elementary

schools on the basis of race. Here in Topeka, Oliver Brown’s daughter had to travel across town to

a segregated school because she was prohibited from attending the all-white public school in their

own neighborhood. Those in government who created and maintained this policy of segregation

attempted to justify it based on a wronghearted interpretation of the fourteenth amendment – Plessy

v. Ferguson 163 U.S. 537 (1896) – that rail lines could enforce separation of black passengers and

white passengers as long as the physical condition of those separate rail cars was equal.

       Fortunately, Mr. Brown and others challenged our Topeka Public Schools in court, which

led to the U.S. Supreme Court overturning the Plessy doctrine of separate but equal. On the 50th

anniversary of the Oliver Brown v. Topeka Board of Education ruling, the week I graduated from




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Topeka Public Schools, I attended the dedication of Brown v. Board of Education National Historic

Site here in Topeka. That day at Monroe Elementary School, Justice Breyer told us in the crowd

that, “before May 17, 1954, the words ‘Equal Justice Under Law’ chiseled in stone above the

Supreme Court’s door rang with irony; after May 17, 1954, those words began to mean what they

say.” Having known many Topekans who attended segregated all-black schools, and having

worked for the government at Brown v. Board of Education National Historic Site on loan from the

historic all black pioneer town of Nicodemus, the principles that SEPARATE IS NOT EQUAL and

that America is a nation of EQUAL PROTECTION UNDER LAW are deeply etched into my

sense of justice.

        Yet from time to time, injustices still occur in American society (and at times injustices are

still perpetrated by our own government) and petitions must be brought before the court appealing

that long held constitutional standards like EQUAL PROTECTION and SEPARATE IS NOT

EQUAL be reaffirmed in a new context.

        So it is, I find myself in a position where the government now forces me, as a Pro Se

defendant, into a separate system for discovery from that which other officers of the court have

access to. And not only do Pro Se defendants have separate discovery access from other officers of

the court, but their access is not equal.

        By the government segregating Pro Se officers of the court into a separate, unequal system

of discovery access from other officers of the court, the government is also putting those Pro Se

defendants into a separate rail car from all other January 6 defendants. As the one representing

myself in court, I am the only one who can manage and make decisions in my case, and I am the

only one who can confront witnesses with evidence from discovery. The government

conditionalizing my sixth amendment rights denies me my fifth and fourteenth amendment rights




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to due process and prevents me as a Pro Se defendant from having the same protections of law as

the January 6 defendants who have opted for representative counsel.

       Citizens who exercise their right to self-represent should not, by doing so, be forced to

relinquish other rights, including the right to explore and examine evidence as they investigate their

own case. Yet the government’s position on discovery access requires defendants to choose one

right and forfeit others. This motion argues that defendants have both the right to self-represent and

the due process right to discovery. Withholding discovery access from Pro Se defendants denies

them due process and violates the equal protection clause of the fourteenth amendment.

       The government’s arbitrary construct of separate systems and disparate access to discovery

has great personal consequences to me because it occurs in a context where the government has

levied criminal accusations against me and seeks to deprive me of my liberty. Though the

government’s representative, Mr. Crawford, has correctly stated in a recent call that my conduct on

January 6 was “entirely peaceful,” and though I am rightly presumed innocent by the laws of our

country, I still am in a position where I must go through the process of defending myself in court

against all charges levied against me. To do that I need full and equal access to discovery.


                                          BACKGROUND

       On May 5, 2021, this Court entered a Protective Order for Government Discovery in this

case (Exhibit 1: Protective Order). This order dictated that I, the defendant, would not be able to

view highly sensitive government videos and discovery unless accompanied by State interposed

counsel and that I, the defendant, could not keep or retain copies of any documents that were

subject to this restriction. (See Figure 1, emphasis added).




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Figure 1: Excerpt from the current protective order.

          At the time I signed the protective order, I was represented by Mr. Terry Eaton. Thereafter,

Mr. Eaton only shared USCP video with me on one occasion and for only a few short minutes,

which meant I was almost entirely in the dark as to the scope and nature of discovery in my case.

          After Mr. Eaton closed his practice, Mr. English was appointed by the court to be my

counsel. Mr. English began practicing law before I was born, and his practice predated the use of

computers, so he never developed the technical proficiency needed to handle the digital discovery

in my case. As I noted in my previous letter to the court, Mr. English never gained access to the

government databases while he represented me, so in the year and a half since my arrest I had not

seen most of my discovery.

          Because of my direct knowledge of events, I know the details of my case better that anyone

and I made the decision to represent myself. The court granted me Pro Se status and then appointed

Mrs. Cubbage to be my standby counsel on August 8, 2022. While a standby counsel can advise

and assist in some ways, they cannot manage a Pro Se defendant’s case or direct their defense. And




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a standby counsel should not become a barrier, filter, or undue burden to a Pro Se defendant

examining the evidence. In the case of McKaskie v. Wiggins U.S. 165, 174 (1984), the court ruled

“the pro se defendant must be allowed to control the organization and content of his own defense,

to make motions, to argue points of law, to participate in voir dire, to question witnesses, and to

address the court and the jury at appropriate points in the trial.”

       While the current protective order was designed for what has become the more common

attorney-client relationship, it severely restricts the ability of Pro Se defendants to examine

discovery and make informed decisions in the organization and content of their own defense.

Exercising my constitutional right to represent myself as the officer of the court in my own case

necessitates that I have full access to discovery. Without such access, the right to represent oneself

is effectively a hollow right. The government’s opposition to granting me full discovery access

denies me due process and creates an undue burden limiting my ability to adequately confront

witnesses and accusations.

       I have attempted to dialogue with the government on these matters so they might be

resolved outside of court. During a September 23, 2022, call with Mr. Crawford (the current

government representative in this case), Mr. Crawford did state that my conduct on January 6 was

“entirely peaceful” and that I did not destroy or steal anything. However, Mr. Crawford affirmed

that the government intends to oppose Pro Se defendants gaining full access to discovery unless

they are compelled by order to honor my constitutional rights. Since the matter could not be

resolved through dialogue, I am bringing this motion to the court to modify the protective order and

compel the due process of discovery access.




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                         TWO STANDARDS of DISCOVERY ACCESS

        The government’s position on access to discovery creates two separate, unequal standards

for officers of the court in the January 6 cases.

        Representative defense counsel are granted full access to the discovery databases and may

use features of those systems to organize a defense. They may also download discovery files and

use those downloaded files to create work product and exhibits to aid in their defense.

        In contrast, Pro Se defendants – who are the officers of the court in their cases – have only

limited access to one of the two discovery databases used by the government, have no direct access

to the other database, and have no access to features of those systems that allow pieces of evidence

to be organized for a defense. These features include the ability to track evidence that has been

examined, the ability to tag evidence deemed important for defense, the ability to create witness

files, the ability to create work product, and to save specific searches and narrow searches to find

relevant materials.

        Pro Se defendants are also prevented from downloading files directly, and from possessing

files which the government arbitrarily classifies as highly sensitive. These access restrictions

prevent Pro Se defendants from preparing work product and court exhibits. Such exhibits might

demonstrate how events unfolded frame by frame, or compare multiple vantage points in a split

screen, or enlarge materials to make key evidence more visible to a jury. These exhibits are needed

for confronting witnesses, but this access disparity allows the government (which has full access to

all discovery) to have an unfair advantage against Pro Se defendants when contesting these charges

in court.




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       So, while the government (in this context of discovery access for Pro Se defendants)

upholds the ‘separate’ of what I had thought was a defunct Plessy ruling, they at the same time

ignore the ‘equal’ requirement from Plessy. My position is parallel to the Supreme Court’s decision

in Oliver Brown’s case, that access should not be separate and must be equal.

       I would not have to raise this fourteenth amendment questions of equal protection, were the

government not also placing conditions on the absolute right of citizens to represent themselves;

conditions that deny me the due process of examining evidence which is recognized in our fifth and

fourteenth amendments.

                  THE COMPARTMENTALIZATION of JANURY 6 DISCOVERY

       To understand the dynamics of discovery access in January 6 cases and the arguments

raised in this motion, it is important for the court to understand how the government creates two

separate, unequal systems of access by compartmentalizing discovery for the January 6 cases.

Case Specific and Global Discovery

       For each January 6 defendant, the government chooses what will be considered case

specific discovery. This case specific discovery is what the government says is directly relevant to

a defendant’s case. Beyond that, there are more than 3 million files of various types that are

included in global discovery. The global discovery is intended to provide defendants access to the

broader context of January 6, however I have found there are also many items in the global

discovery that are specifically relevant to individual defendants such as myself.

       Unfortunately, the government has not identified to defendants all of the items in the global

discovery productions that are specifically relevant to their individual cases, and the government

has left those items out of defendant’s case-specific discovery. For instance, there are USCP

cameras in the evidence.com index which the government has failed to point out as being relevant

to my case. There are also exculpatory materials in the Relativity Index (which the government




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prevents me from accessing) that I have only discovered after their public release as exhibits in

other cases.

       The government’s omissions from case-specific discovery will force me as a Pro Se

defendant to search through more than 3 million files to find what is specifically relevant to my

case. However, I cannot even conduct full searches because I do not have access to all the

discovery productions. By not identifying all directly relevant discovery the government is able to

hide exculpatory evidence like needles in a haystack. The government argues that they are

technically providing all exculpatory materials and fulfilling their Brady obligations, but one must

search the haystack to find those materials. And Pro Se defendants are prohibited from sorting

through the haystack.

        Already, my standby counsel has shown me video files in the global discovery that are

relevant to my case and exculpatory to me as a defendant. These files were not listed by the

government in my case specific discovery.

       I have also found exhibits that have been made public from other January 6 cases that

contain information relevant to my own case, yet these have not been listed in my case specific

discovery. If I had not stumbled across these materials on the internet, I may have never found

them. This is because the protective order and the government’s current policy prohibiting

defendants access to the Relativity index severely restricts my ability to find and examine relevant

evidence in global discovery productions.




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The Sensitivity Classifications of Discovery

         Beyond the case and global compartmentalization, the government has also put in place a

classification system for discovery. For instance, the U.S Capitol security footage is classified as

either sensitive or highly sensitive. These classifications do not limit access for representative

counsel, but under the conditions set forth in the current protective order these classifications do

restrict the access of defendants, including Pro Se defendants to examine evidence. Those

restrictions create an undue burden and adversely impact my ability to prepare a defense.

         Beyond the sensitive and highly sensitive designations, there are also some items in

discovery that have no sensitivity designation, and some items which the government does not

provide access to at all. For instance, the government has established six categories of excluded

security footage (See Exhibit 3 below from Global Discovery Production No. 12, March 4, 2022).

Some of those categories, such as X-Ray machine image feeds or security footage of daycare

centers in the Capitol complex, may not be relevant to any case.




Figure 2: The excluded categories of USCP video not provided to defendants. From Global Discovery Production No. 12, section B




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       Other categories, such as security footage showing movements of the Vice President and

members of Congress, may be relevant because the government has used some of that footage as

exhibits in other January 6 trials. Currently the government is able to pick and choose what they

will use from those excluded categories, while defense teams are left without a full understanding

of what the excluded categories contain. This creates a situation where Pro Se defendants and even

representative counsel must defend against the government’s hand-picked clips from excluded

categories that may be lacking important context. This also denies defendants the ability to

confront adversarial witnesses with contextual evidence from the excluded categories.

       There is also the question of whether the government has withheld any other video or

relevant materials. I asked Mr. Crawford if there is any security footage that does not fall into their

six excluded categories that also has not been produced in global discovery. In his email response,

Mr. Crawford performed considerable rhetorical dancing but did not directly answer the question

with a yes or no. He may be restricted by his superiors on what he is allowed to say, but in the

absence of an absolute denial, I must assume it possible that the government is withholding

additional relevant video from both representative counsel and Pro Se defendants.

The Storage Indexes Used for Discovery

       Discovery is also compartmentalized by the index systems the government uses to store and

transmit discovery to defense teams. There are two main databases the government uses to provide

access to January 6 discovery: evidence.com and the Relativity index. Both index systems host

material that is designated by the government as sensitive and highly sensitive.




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       The evidence.com index holds footage from US Capitol Police, US Secret Service, and

Metropolitan Police Department security cameras. Evidence.com also hosts body worn camera

footage from various responding agencies. Representative counsel have full access to the

evidence.com index, and may download files directly to use in the creation of work product to

prepare for defense of clients.

       Pro Se defendants initially have no access to the discovery hosted on evidence.com. In my

case I have had to request access to cameras individually. My standby counsel then goes through a

tedious process of individually granting me access to each camera I request. Once she shares the

camera with me, I have only viewing access. My account is prevented from downloading any

discovery directly regardless of whether the camera is designated sensitive (which the protective

order allows me to possess) or highly sensitive (which the protective order currently prohibits me

from possessing pending the outcome of this motion).

       Even though my standby counsel has invested considerable time into granting me viewing

access for files I request, I still have no access to most of the discovery hosted on evidence.com,

and I have no direct access to the more than 3 million files in the Relativity Index. This means I

have access to far less than 1% of the total January 6 discovery.

       And with the voluminous amount of discovery, it is easy to lose track of what is relevant to

my case as there is no way for me to organize or download relevant videos once viewed. This

creates an additional obstacle for me as I attempt to manage the large amount of data in my case.




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          And while the government has provided spreadsheets containing the names of files hosted

on evidence.com (which allows me to specifically request individual files), they have not provided

me spreadsheets of all the files hosted in Relativity. What the government does provide are broad

generalizations of the types of files in Relativity. But, as my standby counsel has shown me, the

only way to know what files are in those categories is to have direct access to the system (see

attachment 1, which shows the generalized categories of global productions made to date).

          Even having a spreadsheet of file names for evidence.com has limited usefulness. Many of

the camera names and codes are not intuitive, and the files are often listed with different

timestamps, even for the same camera. For instance, a video file showing a scene from 2:20 p.m.

EST might be displayed as 1920, while the next file from the same camera uses 1440 for 2:40 p.m.

EST. The only way to figure out which cameras and timestamps are needed is to have direct

access.

          Some of the video files are also corrupted, and the government’s spreadsheet which tells

which videos are corrupted has been classified as highly sensitive. Because this spreadsheet is

classified as highly sensitive, I am prevented by the current protective order from possessing it and

am unable to use it as a reference unless my standby counsel shows it to me in a video conference.

This is yet another undue burden for Pro Se defendants.

          It is also difficult to use the list of video files without knowing where those cameras are.

The government has produced maps of those camera locations that were intended to simplify the

research process for defense counsel. However, the government has classified those maps as highly

sensitive, so I, as a Pro Se defendant am prohibited by the current protective order from possessing

those maps (the same tools that other representative officers of the court have access to). This

prohibition increases the likelihood that I will miss finding crucial video evidence when preparing

my defense.




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       The government even stated in a recent filing in another January 6 case that the camera

maps are needed to find and understand the 30,000+ files in evidence.com:

       “. . . the video files, which were provided to the defense via evidence.com. amount to over

       nine terabytes of information and would take 102 days to view. To find relevant footage

       from the Capitol Police’s surveillance system and adequately prepare for trial, one would

       need to use the maps which display the locations of the interior and exterior cameras. The

       government therefore provided the defense with maps that display these locations. The

       government provided fifteen camera maps of the interior of the Capitol Visitor’s Center and

       the interior of the Capitol, and one camera map of the Capitol grounds. The maps depict

       the general location of the cameras that are identified by unique number in each USCP

       CCV video filename.” (ECF 87, 1:21-cr-00177-CRC, Filed July 5, 2022).

       So, while the government publicly acknowledges that the maps are necessary to

“adequately prepare for trial,” they are preventing Pro Se defendants from using those maps, which

prevents us from adequately preparing for trial. This means the government is making access to

discovery most difficult for those who are newest to the justice system. Currently, the only way for

me to reference these maps is to constantly pester my standby counsel to show them to me in video

conferences. Doing so is not only time intensive and disruptive to her work in other cases, but also

creates an undue burden for me as I prepare my own defense.

       Since I do not have the maps which the government acknowledges are needed for constant

reference, my best option is to guess from the spreadsheet at which files might be useful to my

case, and then send a list of file numbers for my standby counsel to share with me.




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       This approach has odds of success similar to shooting in the dark and praying to hit the

target. Many of the files I request end up being completely irrelevant to my case, which wastes my

time and the time of my standby counsel. And even though I have spent considerable time

searching through videos my standby counsel has shared with me on evidence.com, there are still

several large gaps in the timeline I am creating of the events of my case.

       The second database the government uses to store January 6 discovery is the Relativity

Index. This database includes most of the more than 3 million files in global discovery.

Representative counsel have been given full access to Relativity, but the government has been

insistent that defendants – including Pro Se defendants – be prevented from directly accessing

Relativity.

       Relativity, like evidence.com, uses the sensitive and highly sensitive designations applied

by the government. Yet while I am granted limited access on evidence.com, I have no access to

Relativity. This creates a system where the government can hide evidence from Pro Se defendants

by placing it in one index (Relativity) rather than the other (evidence.com).

       The only way I can currently view any of the files in Relativity is by video conferencing

with my State interposed standby counsel who is busy working on other cases. So, not only am I

challenged to find needles amongst 3 million pieces of hay, but I have to do so in the very limited

time my standby counsel has for showing me the Relativity haystack.

       So far, my standby counsel Mrs. Cubbage has shown me the Relativity Index on one brief

occasion. At that time, she pointed out to me that Relativity includes tools that help attorneys

organize evidence in their cases as they prepare a defense. For instance, these tools enable users to

conduct and save searches, create work product, and create witness files.




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       Since the government is preventing me from accessing Relativity directly, they are also

preventing me from having the same tools that officers of the court in other January 6 cases have

access to. This puts me at an even greater disadvantage in organizing evidence and preparing my

defense. Greater access to discovery materials is also needed to identify additional witness

credibility issues and new topics for investigation.

       Mrs. Cubbage also briefly showed me some video files that are hosted on Relativity. Since

those videos are not compressed like videos hosted on YouTube, they require more internet

bandwidth for the images to get to my standby counsel’s computer and then be transmitted over a

video conferencing system (like Zoom) to where I can see it. This State interposed go-between

method results in the video display lagging on my screen. Normally, video plays at 30 or even 60

frames per second, but when Mrs. Cubbage tries to transmit video from Relativity to me, I might

see one frame every other second. This results in a very choppy playback that skips substantial

chunks of visual information, and makes it impossible for me, as the officer of the court in my

case, to examine the evidence fully and adequately. Mrs. Cubbage also lacks a computer capable of

storing and working with all the large video files that will be needed in my case, which hinders her

from downloading and sending me even the sensitive files (which I am allowed to possess) unless

she first deletes other important files from her computer to create space.

       The solution to these access and transmission issues is for me to have direct access to

Relativity that is equal to other officers of the court in January 6 cases so I can view materials from

the platform and download relevant materials to the computer I have built for working with video.

       All of the above factors make preparing for trial unduly burdensome for Pro Se defendants

and are materially disadvantaging my ability to mount a defense.




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  THE GOVERNMENT DECLINES to IDENTIFY REQUESTED BRADY MATERIALS

       On August 26, 2022, I emailed Mr. Crawford, the government’s representative, requesting

the government identify several individuals who appeared to be filming in locations and times the

government has alleged me to be. I also requested the government turn over any video, audio, or

photos those individuals recorded. My email included video screenshots of the individuals

requested, as well as the location where those individuals were sighted.

       Initially, Mr. Crawford declined to identify any of those individuals and claimed that I had

not demonstrated that they, or any media they captured, were material to my case. I reminded Mr.

Crawford that since the government has provided discovery to me alleging me to be in those

locations at those times, it was likely that those individuals captured evidence that was exculpatory

to my case. I then asked Mr. Crawford to file a motion to dismiss if he was not alleging me to be in

those locations at those times. A few days later Mr. Crawford produced information on one of the

dozens of individuals I had requested, a Mr. David Ticas.

       The charging documents for David Antonio Ticas were filed with the court on September 9,

2021, so this man was not only known to the government, but he was arrested nearly a year before

I requested his identity from the government. Yet, the relevant video evidence Mr. Ticas collected

has not been produced in my case specific discovery.

       In his September 1, 2022 email identifying Mr. Ticas, Mr. Crawford said he believed the

scoped contents of Mr. Ticas’ phone were added to Relativity on March 28, 2022. However, I have

asked Mrs. Cubbage to search for media captured by Mr. Ticas in Relativity, and as of October 30,

2022, she was only able to find two files in Mr. Ticas’ Relativity folder. Neither of those files were

the video I requested from Mr. Crawford.




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       On October 28, 2022 I was surprised to see that an NBC journalist had tweeted out the

‘highly sensitive’ video from Mr. Ticas’ cell phone that I had requested from Mr. Crawford. I have

been told by Mrs. Cubbage this file is not available in Relativity, but now this file has been publicly

released to the entire world as an exhibit in Mr. Ticas’ case. When can I expect the government to

add it to my case specific discovery?

       Unfortunately, the government’s failure to produce the Brady material from Mr. Ticas

phone is not the only example. Recently, exhibits released following the Ochs/DiCarlo sentencing

have become public, and as with Mr. Ticas’ video, I discovered those ‘highly sensitive’ Brady

materials on Twitter. Yes, the government has unsuccessfully tried to troll my Twitter use in their

last humorless filing, but how can they expect me to stay off Twitter when the platform provides

me important Brady materials the government fails to produce?

       Defendants should not have to rely on the public release of court exhibits as a means of

obtaining exculpatory materials for their own defense. Providing such discovery is the Brady

obligation of the government and is in the interest of justice (which is presumably still their core

mission). Unfortunately, my experience has been that the Department of Justice has obstructed my

access to search discovery while also failing to provide the Brady materials I directly request.



 THE PROTECTIVE ORDER PLACES an UNDUE BURDEN on PRO SE DEFENDANTS

       The current protective order makes it more difficult for Pro Se defendants to examine

evidence, makes it more likely that they will miss finding exculpatory evidence, and makes it more

time consuming for Pro Se defendants to prepare their defense.




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       When Oliver Brown became the lead plaintiff in the suit brought against the Topeka Board

of Education, his daughter was prevented from attending a nearby all-white school and instead had

to travel across town to the Monroe Elementary School. In addition to denying his children equal

protection, this additional travel was an undue burden.

       Pro Se defendants are forced to work harder and jump through more time-consuming hoops

to view and obtain discovery through the system the government has forced upon them. This is an

undue burden shouldered by Pro Se defendants.

       I am even prevented from taking screen shots from highly sensitive cameras for use in work

product. So, even though the government has already publicly revealed clips from highly sensitive

cameras that convey their approximate location, they still arbitrarily argue the position of these

cameras is highly sensitive.

       Since I cannot download video directly, I must request my standby counsel to send me

sensitive video (the classification the protective order allows me to possess) through an online

storage service such as Dropbox. This service is an additional cost to her and me. But before she

can upload videos to Dropbox, she must download them to her own computer, which has limited

storage capacity and is unable to handle the amount of video relevant to this case. It also takes

considerable time for her to download the video, upload it to another service, and then for me to

download it to my computer. These additional steps greatly increase the amount of time and effort

required to prepare a defense.

       The government wishes the court to interpose my standby counsel as a filter between me,

the officer of the court in my own case, and the discovery. However, Faretta 422 U.S. 820 (1975)

makes clear that counsel “shall be an aid to a willing defendant – not an organ of the State

interposed between an unwilling defendant and his right to defend himself personally”:




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       The counsel provision supplements this design. It speaks of the "assistance" of counsel, and

       an assistant, however expert, is still an assistant. The language and spirit of the Sixth

       Amendment contemplate that counsel, like the other defense tools guaranteed by the

       Amendment, shall be an aid to a willing defendant—not an organ of the State interposed

       between an unwilling defendant and his right to defend himself personally. To thrust

       counsel upon the accused, against his considered wish, thus violates the logic of the

       Amendment. In such a case, counsel is not an assistant, but a master; and the right to make

       a defense is stripped of the personal character upon which the Amendment insists.

       While I appreciate the work of Mrs. Cubbage, no standby counsel should be thrust as a

barrier between a Pro Se defendant and their own discovery. I am “unwilling” to have such

interposition to my discovery access, and the State interposing counsel in such a way is not only

against my “considered wish” but also “violates the logic of the amendment.”

       The Supreme Court emphatically noted in Faretta 422 U.S. 821 (1975) that only the British

Star Chamber “adopted a practice of forcing counsel on an unwilling defendant in a criminal

proceeding,” and that “for those reasons, and because it specialized in trying ‘political’ offenses,

the Star Chamber has for centuries symbolized disregard of basic individual rights.”

       If our government now seeks to transform this honorable court into such a Star Chamber –

that is they implore this court to inflict similar deprivations of rights on defendants wishing to

represent themselves – then I, in my unwavering allegiance to the United States Constitution must

petition this honorable court as an officer thereof to rebuff the government’s subversive requests

and compel them to honor the basic individual rights enshrined in our national charter.




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      PRO SE DEFENDANTS NEED to CREATE WORK PRODUCT and EXHIBITS

       The government blocking Pro Se defendants from directly accessing more than 3 million

files of discovery in the Relativity Index, prevents Pro Se defendants from examining the evidence

brought against them. When the government also blocks Pro Se defendants from possessing

discovery classified by the government as highly sensitive, the government prevents defendants

from creating work product and exhibits.

       These restrictions certainly limit the extent to which defendants can examine the evidence

but preventing Pro Se defendants from creating exhibits also severely restricts their ability to

confront that evidence in court.

       Creating work product also enables Pro Se defendants to examine the evidence in more

depth. For instance, the large amount of video discovery in January 6 cases necessitates the

creation of video timelines to understand how events unfolded. Syncing multiple video files

together into work product allows the evidence to be examined and analyzed in ways that cannot be

achieved by viewing each video file individually without context. Creating such work product also

enables Pro Se defendant to create better exhibits for court.

       As a Pro Se defendant, I need to be able to enlarge and slow down video to show jurors

exactly what did and did not happen. I also need access to video so I can create split screen exhibits

that show jurors multiple perspectives of specific moments in time.

       As this court noted in our last hearing, the government routinely utilizes highly sensitive

footage in their own compilation video exhibits. When Pro Se defendants are prohibited from

created synchronized exhibits they are at a distinct disadvantage, because the government is bound

by no such restrictions.




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       For instance, in other January 6 cases, such as the current Oath Keepers trial, the

government has presented video exhibits that place video clips out of order and that are marked

with the wrong timestamps. This practice can mislead a jury as to the sequence and nature of

events, corrupt jury deliberations, and prevent defendants from receiving justice.

       If I am to defend myself against similar misleading and prejudicial exhibits, I must be able

to show the jury the correct sequence of events and with correct timestamps. To do that, I need

access to all discovery, including what the government has labeled as highly sensitive, because

synchronizing moments relevant to my case will require me to work directly with those files.

       Exhibits are also needed to confront and impeach false witnesses. For instance, the

government has provided me a summary of statements made by a Capitol Police officer who

claimed that a man he believed was from Michigan attempted to grab his baton. Later that officer,

when shown an image of me, alleged that I was the baton-grabbing culprit.

       Not only is Michigan one of the few states I have never been to (though I do hope to visit

Michigan’s National Parks someday), and not only is this officer’s original description of the

supposed baton-grabber completely different than my own physical features, but the government’s

own footage shows this incident never occurred.

       In our September 23, 2022 call, Mr. Crawford brought up this officer’s statement as an

example of an officer incorrectly recalling events. Mr. Crawford even noted that this accusation did

not seem like something I would do since my conduct in life and on January 6 has been entirely

peaceful.




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       However, Mr. Crawford is only detailed to this judicial district and my case temporarily and

he expects to eventually be replaced by another government attorney. It is possible that a

replacement prosecutor might try to bring this officer’s provably false accusations against me in

court. This Capitol Police officer may be a good man suffering a clouded memory, but if he were to

testify against me, I would need to present video exhibits to confront that officer’s recollection of

events. This is only one example, but there are other witnesses I will need to confront with video

evidence.

       The government has even acknowledged that I will need to possess highly sensitive video

for my defense. They have proposed allowing me to directly access a limited number of ‘highly

sensitive’ videos only within the three months prior to a potential trial. This proposal disadvantages

me because the government is already producing, reusing, and honing exhibits for January 6 cases

that outline their preferred narrative of events.

       The three months preceding a trial are also filled with many other tasks and obligations,

which will limit the time I have available to prepare adequate video exhibits for my defense.

Furthermore, the government preventing me from creating work product and exhibits now hinders

me from developing a more advanced understanding of the case that will inform and inspire future

motions that could discourage the government from taking this case to trial.

       In preparing this motion, I have read the fifth and fourteenth amendments repeatedly and I

have yet to find a time limit on a defendant’s due process rights to discovery access. I have also not

found an exception to the equal protection clause that restricts Pro Se officers of the court to a short

period of direct discovery access, while representative officers of the court have no such

limitations. And I have found no amendment that grants the U.S. Attorney for the District of

Columbia the power to arbitrarily deny American citizens these rights.




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       Compilation videos and other video exhibits take time to develop and require direct access

to original footage. I am being denied the ability to create these exhibits by the current protective

order and by the government’s policies restricting access to Relativity and evidence.com. These

factors will deprive me of the opportunity to confront my accusers on an equal footing in court.


                 WITHOLDING ACCESS to DISCOVERY is not JUSTIFIED

       The government has argued that January 6 defendants must not be given direct access to

discovery due to the crimes the government has alleged them to have committed and due to what

the government claims are national security concerns regarding the layout of the Capitol.

       If the government’s first argument was valid, no defendant in American history would be

given due process access to discovery. But our Constitution grants due process because the very

intent of our law is to allow the accused access to evidence so they might confront their accusers.

       Furthermore, I have no criminal history, I have never used illegal drugs, I have been a

productive member of society, I have fully complied with the conditions the court has set for

pretrial release, and I have fully complied with the current protective order. I have a long track

record of being trustworthy and our law rightfully presumes me innocent.

       In the past, the federal government has entrusted me as an employee of the National Park

Service to account for all fee revenue in Yellowstone National Park. In the Yellowstone finance

office, there were times when we had half a million dollars in cash sitting on the table, and we

made sure every penny of it was deposited into government accounts. In fact, I personally adopted

the additional precaution of never taking my own wallet into the counting area so there would

never be cash on my person were there an instance when a transaction could not be balanced. But

everything balanced because we were trustworthy and very skilled in our service to America.




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       There are many other examples of my dependability. When working as an auditor for the

state government of Kansas, I frequently handled sensitive files and I always safeguarded that

information. I left that job three years ago when I began my Ph.D. program, but even now I do not

discuss classified details of state agencies we audited.

       As a graduate teaching assistant and adjunct professor, I was charged with safeguarding

confidential student data, and I always did. In other jobs I have had to protect employee payroll

information and medical records. In every instance, I have done so.

       The government has also already granted that defendants may possess materials designated

sensitive and be shown materials designated highly sensitive, and earlier this year the government

began allowing defendants to view highly sensitive video directly from evidence.com without an

attorney present.

       If a defendant had ill intent, it would not be difficult for them to record highly sensitive

video from their screen using a camera or some type of screen capturing software. But I have no

such ill intent, which is why I am bringing this petition to the court. My sole motivation for

wanting full access to discovery is to defend myself against accusations the government has

brought against me, and I will do that the right way.

       As for the government’s claim that certain Capitol footage is highly sensitive due to

national security concerns related to the layout of the building, the government has already publicly

released video clips from many of these ‘highly sensitive’ cameras. For instance, cameras showing

the Columbus Doors, the Rotunda, the Senate Wing Doors, the Crypt, the Senate Carriage Doors,

and many other areas of the Capitol are designated highly sensitive, yet video from those cameras

has been released to the public. I assume the government would concede that these releases of

highly sensitive video have not jeopardized national security. The government has even sent me a




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link to a highly sensitive video that is now public on the internet because they believe it is relevant

to my own case.

       Surely, I am not a national security threat for downloading a ‘highly sensitive’ video the

government shared with the entire world! I am also not a national security threat for viewing these

highly sensitive videos on evidence.com (as the government has allowed), and I will not be a

national security threat if I possess these videos for the purpose of preparing my defense. If the

government would rather hide these videos than honor my constitutional right to access discovery,

they should motion to drop these charges. But as long as these accusations stand, I must not be

denied my right to confront them with evidence.

       Mr. Crawford has even stated (on a call witnessed by my standby counsel) that my conduct

on January 6 was entirely peaceful, and that I damaged nothing and stole nothing. This testimony

of my upright conduct by the government’s own attorney further demonstrates that I am neither a

threat to national security, nor a threat to misuse materials the court has placed under seal.



        THE COURT has the AUTHORITY to MODIFY the PROTECTIVE ORDER

       The government has made their position on Pro Se access to discovery clear in their recent

Global Productions 1-20 Cover Letter (See Exhibit 2). The State expects standby counsel to be

interposed between Pro Se defendants and their discovery (Exhibit 2, section A.4.). They also

refuse to grant any January 6 defendant access to Relativity due to the number of ‘highly sensitive’

needles they have hidden in that haystack (Exhibit 2, B.2.), and for those reasons they also refuse to

grant Pro Se defendants access to Relativity (Exhibit 2, B.3.).


       However, the government does allow for the possibility that Pro Se January 6 defendants

might reach a “suitable compromise” with the assigned prosecutor. The government also concedes




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the court may order the government to cease denying Pro Se defendants their fifth and fourteenth

amendment rights to the due process of discovery access (Exhibit 2, B.3.).


        I have made good faith attempts to dialogue with the government on this issue, but their

position has proven to be inflexible. This has left me no option but to ask this honorable court to

modify the protective order and to compel the government to grant me, as a Pro Se defendant,

direct access to my discovery.


        The D.C. Circuit has recognized the need for flexibility in considering protective orders.

The Federal Rules of Criminal Procedure give district courts the discretion to enter protective

orders (subject always to the Sixth Amendment's limitations), and “at any time the court may, for

good cause . . . grant other appropriate relief.” Fed.R.Crim.P.16(d). The burden of showing “good

cause” is on the party (the government) seeking the order. But it is a very high bar to deny a citizen

his rights.


        To modify the order is not to remove it. If the order is modified to grant me direct access, I

will still be bound by the requirement to protect these discovery materials and keep them under

seal. But if I do not have access, I do not have due process as a Pro Se defendant.


        In our nation’s history, thirty-eight Supreme Court justices had no law degree. Some never

finished high school. The last without a degree, Stanley Forman Reed, joined the unanimous

decision in Brown v. Board of Education of Topeka, which many consider the most significant in

the history of the court. These justices and many past Pro Se defendants have demonstrated that the

capacity to navigate the law is not dependent on university degrees, but individual devotion to

constitutional principles and the pursuit of justice.




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       Self-representation in court is a long-held American tradition. As Faretta 422 U.S. 821

(1975) quotes from Warren’s A History of the American Bar (1911), early Americans were highly

skeptical of Lawyers because their experience had been that attorneys were “bent on the conviction

of those who opposed the King's prerogatives, and twisting the law to secure convictions.” That

description might also fit many modern prosecutors, which is why our fifth, sixth, and fourteenth

amendment rights must be exercised and protected from attempts to encroach upon them. This

includes exercising and defending the right to represent oneself and defending the due process

implications of exercising that right.


       In 1954, the United States Supreme Court ruled that SEPARATE IS NOT EQUAL, and that

a 35-year-old Topekan named Oliver Brown could send his children to an integrated school. I am

not Oliver Brown, but I am an “entirely peaceful” Topekan arrested three days after my 35th

birthday. I am now defending myself against charges which did not exist as law during the life of

Oliver Brown, and I am in need of the same EQUAL PROTECTION that Oliver Brown found

seventy years ago through our court system.


       So, I ask whether the words I saw on January 6 – the words EQUAL JUSTICE UNDER

LAW chiseled into the Supreme Court – still “mean what they say” as Justice Breyer attested to us

at the Monroe Elementary School nearly two decades ago. Or has America returned to being a

nation of separate and unequal systems for citizens the government wishes to contain or treat

differently?


       This current system imposed by the government forces Pro Se defendants to have unequal

and inadequate access to discovery. I ask this honorable court to modify the protective order and

compel the government to honor fifth, sixth, and fourteenth amendment rights, which will provide

me full access to discovery – the evidence I need to vigorously confront my accusers in court.



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WHEREFORE I, William Alexander Pope, respectfully requests that this motion be granted.

                                               Respectfully Submitted,




                                               By: William Pope




                                                  /s/
                                               William Pope
                                               Pro Se Officer of the Court

                                               Filed by Nicole Cubbage, Standby Counsel
                                               DC Bar No. 999203
                                               712 H. Street N.E., Unit 570
                                               Washington, D.C. 20002
                                               703-209-4546
                                               cubbagelaw@gmail.com
                                               Standby Attorney for William Pope




                                        Certificate of Service
I certify that a copy of the forgoing was filed electronically for all parties of record on this 30th day
                                           of October, 2022.


                                                /s/
                                   William Alexander Pope, Pro Se




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                                                         U.S. Department of Justice

                                                         Matthew M. Graves
                                                         United States Attorney

                                                         District of Columbia


                                                         601 D Street, N.W.
                                                         Washington, D.C. 20530

                                                      October 7, 2022

                                 Re: Capitol Siege Cases
                                     Defense Discovery Databases
                                     Global Discovery Productions 1-20

Dear Counsel:

        This letter summarizes the status of discovery database access for you and your
respective clients (or in the case of standby counsel, for you and your pro se defendant), and the
procedures for gaining access to those databases. Further, this letter memorializes the global
discovery productions that have been made available by the Capitol Siege Section-Discovery
Unit to date.1

I. Defense Databases
       The Federal Public Defender for the District of Columbia (“FPD”) is acting as the
discovery liaison for counsel in all Capitol Siege cases. In connection with that role, FPD is
administering evidence.com and Relativity databases for the purpose of receiving global
discovery productions and making them accessible to Capitol Siege defense counsel. The
government cannot access or view what occurs in any of the defense databases.




1
 By way of illustration, global discovery (as distinguished from case-specific discovery), includes
materials such as:
     Voluminous video footage, radio runs, and tips;
     Case-specific materials from other subjects’ investigations, such as the results of searches of
         digital devices and Stored Communications Act accounts and subject interviews;
     Documents likely to be relevant to many charged individuals, e.g., documents related to
         interstate commerce or proof of an official proceeding;
     Documents commonly requested by defense counsel, e.g., investigations to allegations of officer
         complicity; and
     Tools we have obtained or developed that may assist defendants in identifying relevant
         information.




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        A. Evidence.com
        Evidence.com is an online video repository developed and hosted by Axon Enterprise,
Inc. (“Axon”). We are using evidence.com to share voluminous amounts of video footage to
FPD’s wholly separate “instance” of evidence.com.

               1. Access by Defense Counsel to FPD Instance of Evidence.com
        Since October 18, 2021, all Capitol Siege defense counsel have been able to request a
license from FPD to view voluminous amounts of video footage we have shared to FPD’s
instance of evidence.com.

               2. Access by Clients on Pretrial Release to Videos in FPD Instance of
                   Evidence.com
        Defense counsel’s license enables counsel to use evidence.com to share videos with
clients who are on pretrial release, subject to the terms of the protective order concerning videos
designated as sensitive or highly sensitive. We have agreed to waive the requirement that a
defendant be supervised while viewing highly sensitive video shared to the FPD instance of
evidence.com in cases where:
                   a. A protective order has been entered in the relevant case;
                   b. The defendant has executed the written acknowledgement to the protective
                       order (or been subject to an equivalent admonishment by the Court);
                   c. Access is provided to the client via FPD’s instance of evidence.com (i.e.,
                       not downloaded); and
                   d. The ability of the defendant to download or reshare is suppressed by
                       counsel before the video is shared.2

               3. Evidence.com Access for Defendants Detained in the D.C. Department of
                   Corrections
       As of February 9, 2022, through an unprecedented collaboration among the government,
FPD, FPD’s National Litigation Support Team (“NLST”), American Prison Data Systems
(“APDS”), the D.C. Department of Corrections (“DOC”), and Axon, a separate, stand-alone
instance of evidence.com has been made available to allow Capitol Siege defendants housed in
the DOC to view video footage. This DOC instance of evidence.com is a mirror image of the
FPD instance of evidence.com and it is also administered by FPD.

      The government and FPD have drafted a memorandum of understanding describing,
among other things, the requirements for inmates to obtain access.3 In brief, the government will

2
  To be clear, this exception pertains solely to defendants’ viewing of highly sensitive video in FPD’s
instance of evidence.com. It does not apply to any other highly sensitive documents (including video)
that have been produced by any other mechanism (e.g., USAfx or another file transfer system, Relativity,
or a storage device).
3
 The memorandum addresses topics including: (1) the contents of the DOC instance; (2) administration
of the instance; (3) requirements for access by detained defendants, whether represented by counsel or pro
se; (4) procedures for an inmate to obtain an APDS educational tablet (most already have one); (5) the
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make a request for an inmate to gain access to the DOC instance of evidence.com over an APDS
educational tablet once the assigned prosecutor notifies the Capitol Siege Discovery Unit Chief
that one of the following three things has occurred:

        a. The inmate has signed Attachment A to the protective order;
        b. The inmate has stated on the record in court that s/he has read the protective order,
           reviewed it with his/her attorney, understands the protective order, and agrees to
           abide by it; or
        c. A defense attorney has represented to the assigned prosecutor in writing that they
           have reviewed the protective order with their client and have been authorized to sign
           Attachment A on their client’s behalf; and (b) the defense attorney also agrees that at
           the next scheduled hearing in which the client is present, s/he will put on the record
           that s/he signed Attachment A on the client’s behalf after reviewing the protective
           order with him or her.

If you have a client who is housed in the DOC who would like access to the DOC instance of
evidence.com, please notify the prosecutor assigned to your case when one of these conditions is
satisfied.

               4. Access to Evidence.com by Pro Se Defendants
        Subject to the terms described in Sections I(A)(2) and A(3) above, standby counsel can
use their own licenses for the FPD instance of evidence.com to share videos with pro se
defendants on pretrial release, and detained pro se defendants can view video in the DOC
instance.

              5. Indexes
       Productions are accompanied by indexes of the files produced to the defense
evidence.com repositories. The indexes are provided via the assigned prosecutors through
USAfx.

       B. Relativity
       Relativity is a cloud-based eDiscovery platform that offers functionalities including
document organization, review, production, and analytics within a single environment. We are
using Relativity to share documents to FPD’s separate Relativity workspace. (To be clear,
documents may include video. Only voluminous video is shared via evidence.com.)

               1. Access by Defense Counsel to FPD Relativity Workspace
        Since January 21, 2022, all Capitol Siege defense counsel have been able to request a
license from FPD to view materials in FPD’s Relativity workspace. As the Relativity database is
in a FedRAMP, secure environment, completing the process for obtaining access is time-
consuming and requires a number of steps. Thus, counsel should plan for the process to take at

process for adding an evidence.com link to an APDS educational tablet; (6) the permissions settings
required for the instance; (7) how the protective order works in connection with this instance; and (8)
persons with visibility into an inmate’s activities in the instance.
                                                     3




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least one week from when you first submit your FPD Relativity License Request Form to when
you will be granted access the Relativity database. Depending on the number of simultaneous
requests, it could take even more time. Thus, we urge you to apply for access to FPD’s
Relativity workspace as soon as possible.

               2. Access by Defendants to Materials in FPD Relativity Database
        No defendants will be provided licenses to access the FPD Relativity workspace, given
the extensive volume of highly sensitive materials currently therein and those that we will
produce in the future. (Please see Section 5 of the Discovery Unit’s February 9, 2022 Status
Memorandum for examples of such types of information.)

        We will notify the defense as materials are added to the FPD Relativity workspace so that
counsel and defendants may collaborate to identify any materials a defendant should review in a
particular case. Subject to the protective order, defense counsel can share such documents with
their respective clients through a variety of mechanisms including Internet-based file transfer
systems or traditional storage devices, such as hard drives, flash drives, and discs. Further, FPD
and its vendor are also attempting to determine if it will be possible for defendants to view
selected materials within the FPD Relativity workspace, utilizing permissions that would ensure
that only the selected materials are viewable by the relevant client.

        In those instances where a defendant wishes to view highly sensitive documents in FPD’s
Relativity workspace, counsel or another member of the legal defense team must supervise the
defendant unless: (1) the defendant and the assigned prosecutor are able to reach a suitable
compromise about the documents in question or (2) the Court orders otherwise. The protective
order’s requirements for highly sensitive documents apply regardless of whether a defendant is
detained or on pretrial release.

                3. Pro Se Defendants
        For the reasons elaborated in Section 5 of the Discovery Unit’s February 9, 2022 Status
Memorandum, the government will not agree to provide pro se defendants access to FPD’s
Relativity workspace. However, prosecutors assigned to pro se cases will share production
indexes with both pro se defendants and their standby counsel. Standby counsel should discuss
the materials on the production index with the pro se defendant, and subject to the protective
order, s/he can share any materials requested utilizing the same mechanisms available to
represented defendants described above. Further, in those instances where a pro se defendant
wishes to view highly sensitive documents, standby counsel or his/her staff must supervise the
defendant unless: (1) the defendant and the assigned prosecutor are able to reach a suitable
compromise or (2) the Court orders otherwise.

               4. Production Prefixes and Production Indexes
       When we initially began producing global discovery, documents were produced in
numbers production volumes that began with the prefix “DOJCB.” We later added the
production prefix “DOJ_ABD” to refers to production volumes that consist of the following
types of materials: (a) Files from digital devices (e.g., cell phones and laptop computers) or

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Stored Communications Act (“SCA”) accounts (e.g., gmail, Facebook, Twitter) that have been
identified by law enforcement as relevant to the Capitol Siege investigation; and (b) recorded
interviews with investigation subjects. Productions are accompanied by separate DOJCB and
DOJ_ABD indexes, which are provided via the assigned prosecutors through USAfx.

                5. Production Fields
         When we provide discovery to the defense Relativity database, it includes metadata (i.e.,
information about the documents being provided, such as the name of the original custodian, the
document’s filename, or the name of the individual associated with a device or document). To
the extent such data has been provided for a particular item, it should be viewable in the defense
database as a “field” (i.e., a column). A glossary we have provided (CAPD_006180913)
identifies and describes the fields we have provided, including whether the information in the
field is government work product.

        In both DOJCB and DOJ_ABD volumes, you may identify items associated with a
particular individual by filtering in the CODE_IndivDefendant field on the relevant subject’s
name. (Notwithstanding the name of the field, the fact that a person is named does not mean that
they are in fact charged in a case.) In DOJ_ABD volumes, you can identify the interview subject
or individual from whom a device was derived by filtering on the 1B1D_Subject field (i.e.,
column). You can learn more about the type of device or SCA account by filtering on the
1B1D_Device Description field. These are all subjective work product fields we provided to the
defense Relativity database solely to assist defense counsel in locating materials that may be
relevant to specific individuals. The information we use to code items as being associated to a
particular defendant is derived from a variety of methods, including text searches and original
case file information. Inadvertent miscoding can thus result in cases where individuals have
similar names, or from overly broad search terms, human error, or other factors. Accordingly, as
the information available to us evolves, the names listed in that field may grow or shrink for any
given document or group of documents.

       C. Questions
       If you have any questions about obtaining access to defense databases, or you are
experiencing difficulties or challenges with gaining access, please email please email Shelli
Peterson at Shelli_Peterson@fd.org.

II.   Protective Order
      Sensitivity designations for the materials produced are identified in these indexes that
accompany discovery productions and in the defense databases.

        If you receive any materials, whether in case-specific or global discovery, designated
Sensitive or Highly Sensitive and (a) there is no protective order entered in the applicable case or
(b) your client has refused to sign a written acknowledgment that s/he has read, understands and
agrees to abide by the terms of the applicable protective order, we request that you refrain from
disseminating those materials to your client. Instead, please inform the assigned prosecutor in
writing and give them at least one week to file a motion with the Court to ensure that discovery
materials are adequately protected.
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III.   Productions to Date
       Following is a summary of the global discovery productions made to date. At the time
you receive this letter, you should also receive an invitation to a USAfx folder containing
indexes of the files we have produced to FPD’s instance of evidence.com and FPD’s Relativity
workspace.

Global Production No. 1
      On September 10, 2021, the following materials, now accessible in the FPD Relativity
workspace, were made available for sharing via USAfx:

          35 files consisting of 28 reports from U.S. Capitol Police (USCP) Office of Professional
           Responsibility (“OPR”) investigations of alleged wrongdoing by USCP officers on
           January 6, 2021 (CAPD_000000001- CAPD_000000848.)

        Officer names, witness names, and complainant names were redacted and these files are
not subject to a sensitivity designation under the protective order. However, if you observe that
an officer’s name has not been redacted, and that officer is a subject of or witness to the
allegation of misconduct, you must treat that information as Highly Sensitive under the
protective order. That means you cannot share it with your client unsupervised unless you first
redact it, and that the information can only be used consistent with the protective order’s rules
for handling Highly Sensitive materials. Should you observe such information, please notify us
so that we may make an appropriate designation known to all Capitol Breach defendants.

Global Production No. 2
       On September 24, 2021, the following materials were shared to the defense instance of
evidence.com:

          4,044 files (over one terabyte) consisting of USCP Closed Circuit Video (“CCV”)
           footage from 118 cameras. The contents of footage shared includes video from the
           interior of the U.S. Capitol Visitor Center and from the Capitol grounds. These files are
           designated Sensitive under the protective order (FPD CCTV_001 SENSITIVE.)4


4
 To determine the starting date/time of USCP CCV video, you will need to look to the format of the title
of each video in evidence.com. Each CCV video will have a date and time (in 24-hour format) at the end
of the filename that refers to the starting date/time of that video. The times are either in local time (EST)
or in UTC (EST +5 hours). To determine the correct starting time, check if the filename has or does not
have spaces. File names without spaces are in EST format. File names with spaces are in UTC format.
For example:

              File name: 5061501RFWestRoof_2021-01-06_11h40min01s657ms.mp4
                   o There are no spaces in this file name and therefore the time is in EST format.

              File name: 5061 501 RF West Roof - 2021-01-07_01h00min02s.mp4
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      On September 24, 2021, the following materials, now accessible in FPD’s Relativity
workspace, were shared via USAfx:

       Forty-two files that consist of Metropolitan Police Department (“MPD”) internal
        investigation reports and exhibits (CAPD_000000849 to CAPD_000001587). These
        reports and exhibits are unredacted and thus designated Highly Sensitive under the
        protective order.
       Twenty files consisting of digital exhibits to previously produced USCP OPR reports.
        Any applicable sensitivity designations are reflected in the index (CAPD_000001588 to
        CAPD_000001607).

Global Production No. 3
       On October 1, 2021, the following materials were shared to the defense instance of
evidence.com:

       11,176 files (over 3 terabytes) consisting of USCP CCV footage from 339 cameras. The
        contents of footage shared includes video from the interior of the U.S. Capitol Visitor
        Center and from the Capitol grounds. These files are designated Sensitive under the
        protective order (FPD CCTV_002 SENSITIVE).
       1,676 files consisting of MPD body-worn-camera (“BWC”) footage recorded between
        approximately 1:00 p.m. and 6:00 p.m. on January 6, 2021. These files are not subject to
        a sensitivity designation under the protective order. Nevertheless, to the extent you
        intend to disseminate these materials to any persons other than your client, the legal
        defense team, or the person to whom the footage solely and directly pertains or his/her
        counsel, please ensure that you have reviewed the footage first and do not disseminate
        further any footage: (1) in which an individual provides or displays personal identifying
        information5 or (2) depicting personal information that may be highly embarrassing to
        either the officer wearing the camera or a person depicted in the footage.6 Such
        information is at the very least Sensitive under the protective order. Should you observe
        such information, please notify us so that we may make an appropriate designation
        known to all Capitol Breach defendants (FPD_MPD BWC 001).



                o   There are spaces in this file name and therefore the time is in UTC format (EST +5
                    hours).
5
  Personal identifying information includes civilian names and nicknames, and all social security
numbers, driver’s license numbers, physical addresses, e-mail addresses, any other contact information,
financial information, medical information, and mental health history information.
6
  For example, while we believe we have already identified and segregated such footage, we are aware of
instances where an officer may have forgotten to turn off his or her body-worn-camera while using a
restroom.

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Global Production No. 4
       On October 8, 2021, the following materials were shared to the defense instance of
evidence.com:

           1,705 files consisting of USCP CCV footage from 58 cameras. The contents of
            footage shared includes video from the interior of the U.S. Capitol Visitor Center and
            from the Capitol grounds. These files are designated Sensitive (not Highly Sensitive)
            under the protective order (FPD CCTV_003 SENSITIVE).

      On October 15, 2021, the following materials, now accessible in the FPD Relativity
workspace, were made available for sharing via USAfx:

           15 maps of the interior of Capitol Visitor’s Center and the interior of the Capitol, all
            of which are designated Highly Sensitive under the protective order (CAPD_0001648
            - CAPD_0001662).
           USCP Radio Communications on Main Ops 1 and 2 (CAPD_0001615 -
            CAPD_0001616, respectively), which are also Exhibit 7 to USCP Office of
            Professional Responsibility Report (“OPR”) 21-006A (previously provided). These
            items are designated Sensitive under the protective order.
           Draft transcripts of the radio communications described above. These items are also
            designated Sensitive under the protective order (CAPD_0001663 - CAPD_0001664).
           11 additional digital exhibits (6 audio, 3 videos, and 2 images) to previously produced
            USCP OPR reports. The applicable sensitivity designation for each exhibit is listed in
            the index (CAPD_0001617, CAPD_0001620-CAPD_0001623, CAPD_0001627,
            CAPD_0001634, CAPD_0001639, CAPD_0001644, CAPD_0001645,
            CAPD_0001647).
           MPD Radio Global Positioning Satellite (“GPS”) Spreadsheet. This item is
            designated Sensitive under the protective order (CAPD_0001665).7




7
  The MPD GPS spreadsheet is work product that was created by the Discovery Team based on records
provided to us by the D.C. Office of Unified Communications (“OUC”) through MPD. In many
instances, the subscriber alias for a radio is an individual officer’s Computer Aided Dispatch (“CAD”)
number and last name. This same information can be used to search for that officer’s body-worn-camera
footage in evidence.com. For ease of use, you may wish to consider plotting the information provided on
a time-scaled map using commercially available GPS mapping software. To be clear, this MPD Radio
GPS information is being provided to you solely for the purpose of assisting you in locating officers who
may have recorded body-worn-camera footage at a particular location and time. We do not purport to
vouch for the accuracy or admissibility of the radio location data information. (Although OUC requested
it on our behalf, OUC was unable to obtain radius of accuracy information for the location data.) We also
do not intend to indicate that each officer who used a radio was also utilizing body-worn-camera. In fact,
many officers (e.g., Detectives and Officers with the rank of Inspector and above) are generally not
required to wear them.

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Global Production No. 5
       On October 22, 2021, the following materials were shared to the defense instance of
evidence.com:

          142 files consisting of U.S. Secret Service (“USSS”) surveillance exterior camera
           footage from January 6, 2021 (FPD_USSS 001).
          4,204 files consisting of USCP CCV footage from 123 cameras. The contents of
           footage shared includes video from the interior of the U.S. Capitol. These files are
           designated Highly Sensitive under the protective order (FPD CCTV 004 HIGHLY
           SENSITIVE and FPD CCTV_005 HIGHLY SENSITIVE).

      On October 22, 2021, the following materials, now accessible in the FPD Relativity
workspace, were made available for sharing via USAfx.

      A camera map of the Capitol Grounds. The camera map is work product that was created
       at the request of the Discovery Team, and all camera locations depicted are approximate.
       It is designated Highly Sensitive under the protective order (CAPD_0001666).
      Ten aerial surveillance images received from MPD (CAPD_0001667 to
       CAPD_0001676).
      Six demonstration permits received from the USCP (CAPD_0001677 to
       CAPD_0001753).
      A spreadsheet containing the filenames/titles, starting times, video length, and date of the
       USSS video contained in FPD_USSS 001. This spreadsheet is work product that was
       created by the Discovery Team (CAPD_0001768).

Global Production No. 6
      On October 29, 2021, the following materials, now accessible in the FPD Relativity
workspace, were made available for sharing via USAfx:

      30 digital audio files consisting of 30 hours of MPD radio transmissions (Special
       Operations Division (“SOD”) channel), beginning on January 6, 2021, at 12:00 a.m. and
       ending January 7, 2021 at 6:00 a.m. (CAPD_000001769 to CAPD_000001798). These
       files are designated Sensitive under the protective order.
      A 673-page transcript of the MPD radio transmissions (SOD channel)
       (CAPD_000001799 to CAPD_000002471). This file is designated Sensitive under the
       protective order. To facilitate your review, we have attached an index that associates the
       Bates number for each audio file with the relevant pages of the transcript.
      USCP after-action reports (176 pages, redacted). This file is designated Sensitive under
       the protective order (CAPD_000002472 to CAPD_000002647).

       On October 29, 2021, the following materials were shared to the defense instance of
evidence.com:


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      24 files consisting of approximately 4 hours of BWC footage recorded by 11 Fairfax
       County Police officers. The footage begins on January 6, 2021, at 3:39 p.m. (and depicts
       the officers traveling to Washington, D.C.). The footage from the Capitol begins at 5:18
       p.m. Two of these files have been designated Highly Sensitive (FPD_FAIRFAX BWC
       001; FPD_FAIRFAX BWC 002 HIGHLY SENSITIVE).

      60 files consisting of approximately 37 hours of BWC footage recorded by 22
       Montgomery County Police officers. The footage begins on January 6, 2021, at 3:03 pm.
       One of these files has been designated Highly Sensitive (FPD_MONTGOMERYCO
       BWC 001; FPD_MONTGOMERYCO BWC 002 HIGHLY SENSITIVE).

Global Production No. 7
      On November 5, 2021, the following materials, now accessible in the FPD Relativity
workspace, were made available for sharing via USAfx:

      159 documents largely consisting of Federal Bureau of Investigation (“FBI”) reports of
       interview of law enforcement officers about their experiences on January 6, 2021, and
       accompanying exhibits. These documents are designated Sensitive under the protective
       order (CAPD_000002648 to CAPD_000002902).

Global Production No. 8
      On November 30, 2021, the following materials, now accessible in the FPD Relativity
workspace, were made available for sharing via USAfx:

      2 new reports and 16 associated exhibits (8 video, 8 audio) of USCP investigations of
       alleged wrongdoing by USCP officers on January 6, 2021. Officer names, witness names,
       and complainant names have been redacted. These are supplements to our original
       production of reports on September 10, 2021. The Bates numbers are reflected in the
       attached index.

      40 additional digital exhibits (30 audio, 7 videos, and 3 PDFs) to previously produced
       USCP OPR reports. The applicable sensitivity designation for each exhibit is listed in the
       index. These are supplements to our productions of September 10 and October 15, 2021.
       The Bates numbers are reflected in the attached index and complete the gaps in previous
       productions related to the same reports.

      Detailed Zone Maps of Zone A (US Capitol) and Zone B (Terrace) for Body Worn
       Camera (CAPD_000003191 and CAPD_000003192). These maps are designated
       Sensitive under the protective order. (The Zone Map of the exterior of the Capitol
       (CAPD_0001666) was produced in Global Production No. 5.) All three Zone Maps are
       U.S. Attorney’s Office (“USAO”) Work Product.

      BWC Summary Spreadsheet Version 1 - USAO Work Product (CAPD_000003190).
       This document is designated Sensitive under the protective order. The spreadsheet was
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        created by USAO staff based on a review of BWC from responding law enforcement
        agencies including MPD, Montgomery County Police Department, and Fairfax County
        Police Department.8

        On November 30, 2021, 1,063 files consisting of approximately 714 hours of BWC
footage recorded by 675 MPD officers were shared to the defense instance of evidence.com.
The files were shared in three separate folders, as follows:




8
  How to Use the BWC Summary Spreadsheet and Zone Maps with Evidence.com
On the spreadsheet, the columns titled “Officer Last Name” and “Officer First Name” correspond to tags
within evidence.com identifying the officer who uploaded the video (typically, but not always, the
recording officer). If, upon reviewing the spreadsheet, you want to review a particular video, enter the
officer’s last name in the “Tag” column in evidence.com and select the desired officer’s name when it
appears. Evidence.com will then display all the videos uploaded by that officer. Next, look in the
“Recorded On” column in evidence.com for the same or a similar start time to the time listed in the “Time
Video Starts” column of the spreadsheet. (Note: BWC footage in evidence.com contains a “Recorded
On” time which may vary from the time burned into the footage itself. The “Recorded On” time reflects
the time the officer manually hit the record button. The time burned into the video may precede the
“Recorded On” time by one or two minutes because when an officer manually begins recording, the
program preserves events the camera viewed shortly before the camera was manually initiated. The
“Time Video Starts” column reflects the “Recorded On” time. However, staff who created the
spreadsheet sometimes listed the burned-in time rather than “Recorded On” time.)

Columns in the spreadsheet labeled “APO,” “UE,” “Attack on Media,” “Dest. of Property,” and “Other
Crimes” denote the timestamp in the video where a reviewer noted his/her observation of potential
criminal acts. “N” means no such acts were observed by the reviewer.

The column in the spreadsheet labeled, “If entered Capitol, at what time?” lists the time the officer
entered the Capitol based on the footage in the video.

Columns in the spreadsheet labeled “Loc @ 12:00” through “Loc @ 0000” identify where the reviewer
believes the officer was located at a specific time. For example, if the column labeled “Loc @ 1530” had
the value “Inside” listed, the reviewer concluded the officer was inside the Capitol at 3:30 p.m. If,
alternatively, it had the value “Zone A2” listed, the reviewer believed the officer was in Zone A2 as
depicted on the applicable Zone Map.

         Caveat
         This spreadsheet is being provided solely for the purpose of assisting you in locating relevant
BWC footage. It is neither intended nor admissible as a statement of the government under Federal Rule
of Evidence 801. It was created by over sixty individuals, not all of whom are attorneys. It was initially
created as an investigative tool to assist prosecutors in locating relevant evidence. It has not been
comprehensively quality-checked for accuracy. It may contain errors or statements that are inconsistent
with ultimate charging decisions. Further, descriptions of events may not completely reflect the contents
of a video.

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      927 files consisting of approximately 526 hours of BWC footage recorded by 545 MPD
       officers, beginning either before 1:00 p.m. or after 6:00 p.m. on January 6, 2021
       (FPD_MPD BWC 002).
      77 files consisting of approximately 70 hours of BWC footage recorded by 73 MPD
       officers, beginning between 1:00 and 6:00 p.m. on January 6, 2021 (FPD_MPD BWC
       004).
      59 files consisting of approximately 118 hours of BWC footage recorded by 57 MPD
       officers that are designated Highly Sensitive under the protective order (FPD_MPD BWC
       003 HIGHLY SENSITIVE).

Global Production No. 9
      On December 17, 2021, the following materials were shared to FPD’s Relativity
workspace:

      A detailed timeline of the events of January 6, 2021 from the USCP. This timeline is
       designated Sensitive under the protective order (CAPD_000003193).

      162 Use of Force Reports for employees of USCP. These reports are designated
       Sensitive under the protective order (CAPD_000003217 - CAPD_000003597).

      64 audio recordings of Virginia State Police Radio Communications and related incident
       history detail reports. These files are designated Sensitive under the protective order
       (CAPD_000003598 - CAPD_000003698).

      BWC Summary Spreadsheet Version 2 - USAO Work Product (CAPD_000003190_1).
       This document is designated Sensitive under the protective order. Version 1 of the
       Spreadsheet was provided in Global Production No. 8. Version 2 has been updated to
       include additional BWC footage from the Arlington County Police Department
       (“ACPD”).

Global Production No. 10
      On January 14, 2022, the following materials were shared to the defense Relativity
workspace:

      10 videos from the House Recording Studio, including a Certificate of Authenticity, and
       FBI Report of Interview of Olga Ramirez Kornacki, Director of the House of
       Representatives TV Gallery. These materials are designated Sensitive under the
       protective order (CAPD_000003699 - CAPD_000003711).

      Files from MPD’s Electronic Surveillance Unit including 6 reports and 65 videos
       recorded by officers dressed in plain clothes. These materials are designated Sensitive
       under the protective order (CAPD_000003712 - CAPD_000003798).


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       MPD’s Report of U.S. Capitol Police Officer Byrd’s Use of Force and accompanying
        attachments. These materials were redacted by MPD (CAPD_000003810 -
        CAPD_000004120).

       Attachments to MPD’s Investigative Reports concerning Use of Force. These
        attachments are primarily video and audio files. These materials are designated Highly
        Sensitive under the protective order (CAPD_000004121 - CAPD_000004242).9

       10 videos from the Senate Recording Studio, a Certificate of Authenticity, and an FBI
        Report documenting receipt of the video. These files are designated Sensitive under the
        protective order (CAPD_000004246 - CAPD_000004255).

Global Production No. 11
       On Friday, January 28, 2022, the following materials were produced to the defense
Relativity workspace:

       USCP materials, designated as Sensitive under the protective order, including the
        following:
            o Eight audio files of USCP Communications via radio (CAPD_000022923 -
               CAPD_000022927 ) and conference bridge (CAPD_000023003 -
               CAPD_000023005).
            o Radio Communications Chronology (CAPD_000022928).
            o Redacted Transcript of the Dignitary Protection Detail Radio Channel
               (CAPD_000023006).
            o Lists of Conference Bridge attendees (CAPD_000023044 and
               CAPD_000023047).

       A spreadsheet listing start times of the pole camera video from ACPD
        (CAPD_000004267). The spreadsheet corresponds with the 19 files shared via
        evidence.com explained below. It is USAO work product being provided solely to assist
        you in your review of voluminous footage.

       18,484 files of Anonymous Tips and related documentation made to MPD, designated
        Sensitive under the protective order (CAPD_000004286 - CAPD_000022908).
           o Please note that CAPD_000011603 - CAPD_000011616 are spreadsheets that list
                the tips received. Many tipsters attached images or videos to their submissions
                that were memorialized in the “moID” column of the spreadsheet. To identify any
                image or video file that corresponds to the tip, please copy the value from the
                moID field and paste it into the “FileName” field in the defense Relativity
                database. If there is no content in the moID field of the spreadsheet, or if copying


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 39 files previously produced in Global Production No. 2 were provided again for reference since many
of the attachments relate to those reports. The re-produced documents are flagged as such in the index.
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              the contents of the moID field does not cause Relativity to bring up another file,
              this means no attachment was associated with the tip.

      Files related to interstate commerce including:
           o 3 Reports of interviews of Safeway Store Managers (CAPD_000004268 -
               CAPD_000004270), designated Sensitive under the protective order.
           o 4 files from Safeway Grocery stores (CAPD_000022909 - CAPD_000022922),
               designated Sensitive under the Protective Order.
           o 2 files from the District of Columbia Government (CAPD_000004256 -
               CAPD_000004266).

      3 files from the USSS involving the security of Vice President Pence, designated
       Sensitive under the protective order (CAPD_000023049 - CAPD_000023052).

      FBI Reports of Interview of the following individuals, designated Sensitive under the
       protective order:
           o USSS Employees Lanelle Hawa and Paul Wade (CAPD_000004276 -
               CAPD_000004285).
           o Ralf Oberti, Freelance Cameraman (CAPD_000004271).

For simplicity, the Bates range for certain voluminous records (e.g., 18,484 files of Anonymous
Tips and related documentation) is summarized in the index (as opposed to being listed line by
line).

       On January 27, 2022, 104 files consisting of approximately 102 hours of BWC and pole
camera footage recorded by approximately 54 ACPD officers were shared to the defense
instance of evidence.com. The files, described below, were shared in three separate folders, as
follows:

      84 files consisting of approximately 99 hours of BWC footage recorded by 53 ACPD
       officers, between 2:00 and 7:00 p.m. on January 6, 2021, designated Sensitive under the
       protective order (FPD_ARLINGTON BWC 001 SENSITIVE).
      1 file consisting of 2 hours and 15 minutes of BWC footage recorded by 1 ACPD officer,
       beginning at 3:34 p.m. on January 6, 2021, designated Highly Sensitive under the
       protective order (FPD_ARLINGTON BWC 002 HIGHLY SENSITIVE).
      19 files consisting of approximately 1 hour and 13 minutes of pole camera footage
       recorded by the ACPD, designated Sensitive under the protective order
       (FPD_ARLINGTON Polecam 003 SENSITIVE).


Global Production No. 12
       Global Production No. 12 consisted of (A) Relativity production volumes DOJCB_012,
DOJCB_013, DOJ_ABD_001, and DOJ_ABD_002; (B) a disclosure about USCP CCV footage;
and (C) two evidence.com productions (one re-release and one new).
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   A. Relativity Productions
         1. Volume DOJCB_012: On February 21, 2022, documents identified as relevant
             to United States v. Guy Reffitt, were shared to the defense Relativity database
             (CAPD_000038964 - CAPD_000050937).

           2. Volume DOJCB_013: On March 4, 2022, the following documents were shared
              to the defense Relativity database:
              a. Over 250 FBI interviews of USCP and MPD officers, and associated exhibits
                  (889 files total) (CAPD_000052939 - CAPD_000053427).
              b. Three search warrants and related materials pertaining to a total of 63
                  Facebook accounts (CAPD_000050938 - CAPD_000051089).
              c. Two search warrants and related materials pertaining to the FBI’s collection
                  of Google account subscriber information and location data from the Capitol
                  and restricted perimeter, i.e., the Google geofence warrants
                  (CAPD_000051162 - CAPD_000052152).
              d. An application and related orders issued pursuant to 18 U.S.C. 2703(d),
                  requiring twelve cell service providers to provide basic subscriber information
                  and call records for devices that, according to location data obtained pursuant
                  to the Google geofence warrants, were present within the U.S. Capitol on
                  January 6, 2021 (CAPD_000051090 - CAPD_000051161).
              e. One search warrant and related materials requiring Facebook to provide
                  information for accounts associated with 2,087 advertising identifiers
                  (CAPD_000052153 - CAPD_000052257).
              f. Ten search warrants and related materials pertaining to anonymized location
                  data collected by ten data aggregation companies (CAPD_000052258 -
                  CAPD_000052696).
              g. Six search warrants and related materials pertaining to the FBI’s collection of
                  cell tower data from Verizon, AT&T, and T-Mobile/Sprint
                  (CAPD_000052697 - CAPD_000052938).

        Items (c) through (g) were redacted to remove law enforcement sensitive information, for
example, the precise location of cellular network infrastructure that provided cellular service to
the Capitol on January 6, 2021; and information that would identify the confidential sources of
certain anonymized location data. In certain instances, we also redacted the precise account
information sought, as analysis of the results continues to reveal accounts associated with
individuals who were lawfully present on January 6, 2021, e.g., members of Congress, their staff,
and law enforcement. Relatedly, we do not intend to produce en masse the data received in
response to items (c) through (g) above because it contains such information, and the process of
identifying that information continues even today. Relevant data obtained pursuant to items (c)

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through (g) will be provided in case-specific discovery, and requests for such data should be
addressed to the assigned prosecutor.

           3. Volume DOJ_ABD_001: On February 11, 2022, DOJ_ABD items associated
              with John Daniel Andries, Cynthia Ballenger, and Nicole Prado were produced to
              the defense Relativity database (CAPD_000023053 - CAPD_000024418).

           4. Volume DOJ_ABD_002: On February 21, 2022, DOJ_ABD items associated
              with Guy Reffitt were produced to the defense Relativity database
              (CAPD_000024419 - CAPD_000038963).

For simplicity, the Bates range for certain voluminous records (e.g., files that are all derived
from the same digital device) is summarized in the index (as opposed to being listed line by line).
Sensitivity designations for the materials described above are identified in the index.

     B. Disclosure about USCP CCV
        The USCP captured footage from all Capitol interior, all Capitol Visitor Center (“CVC”)
interior, and all exterior CCV cameras that were in place on January 6, 2021. We have produced
all such footage to the defense instance of evidence.com except footage depicting:
        1. Critical infrastructure, e.g., communication and security closets, fire doors in the
            basement levels of the CVC, loading docks.
        2. X-Ray machine image feed.
        3. Intel and Sensitive Compartmented Information Facility (“SCIF”) office lobbies.
        4. Tunnels and subways.
        5. Evacuation routes and shelter-in-place locations utilized by, inter alia, members of
            Congress, their staff, and the Vice President, on January 6, 2021.
        6. Daycare centers and the Senate page dormitory (i.e., exterior footage that provides
            views of the entrances to these facilities and daycare playgrounds).

       Items 1-5 above have been designated as security information by the USCP Board
pursuant to 2 U.S.C. § 1979. The USCP has conducted a review of the footage comprised by
Items 1-5 above and has determined that most of the footage does not depict purported rioters.
We do not intend to produce such footage in discovery.

        Five video files (approximately 31 minutes of footage) that fall into the Item 5 category
depict purported rioters. We are conducting a review of this footage to determine whether it
depicts any charged defendants, and we will make disclosures in cases involving those
defendants as required by Rule 16 or Brady and its progeny, in a manner we deem appropriate to
protect the security interests at stake.

       While Item 6 does not constitute security information, it is nevertheless irrelevant
because the USCP’s review determined that none of this footage depicts purported rioters. Thus,
we do not intend to produce this footage in discovery.

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     C. Evidence.com Productions

        1. Re-Released Footage
        On Tuesday, December 14, 2021, the government learned that we had inadvertently
disclosed to the defense instance of evidence.com USCP CCV that had been designated as
security information by the USCP Board pursuant to 2 U.S.C. § 1979. As an initial matter, at our
request, FPD restricted access to the entire defense evidence.com instance while we assessed
what happened. On Monday, December 20, 2021, FPD restored access to the defense instance of
evidence.com, except for 702 files, while we worked through this matter with the USCP.

       On Friday, January 14, 2022, we authorized FPD’s re-release of 642 of 702 files that had
been deleted or restricted at our request. (The remainder comprise part of the footage designated
as security information by the USCP, discussed in Part B above.) Sixteen of those 642 files,
described below, had been deleted by FPD at our request. We reshared those files on March 1,
2022, in the following folders:

        14 files of exterior footage, approximately 5 hours in length (FPD CCTV_006 RE-
         RELEASE SENSITVE).10
        2 files of interior footage, approximately 40 minutes in length (FPD CCTV_007 RE-
         RELEASE HIGHLY SENSITIVE).

       2. New Production
       On March 4, 2022, 66 files consisting of approximately 35 hours of BWC footage
recorded by 14 Virginia State Police officers were shared to the defense instance of
evidence.com. The files, described below, were shared in a folder, as follows:

        66 files consisting of approximately 35 hours of BWC footage recorded by 14 VSP
         officers on January 6, 2021, designated Highly Sensitive under the protective order
         (FPD_VIRGINIA_STATE_POLICE BWC 001 HIGHLY SENSITIVE).

Global Production No. 13
      Global Production No. 13 consisted of Relativity production volumes DOJCB_014,
DOJCB_015, DOJ_ABD_003, and DOJ_ABD_004.

     A. Relativity Productions

         1. Volume DOJCB_014: On March 22, 2022, the following documents were shared to
            the defense Relativity database:
            a. Video footage from the French news agency Bangumi and associated materials
                (CAPD_000054936 - CAPD_000054954).

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  The files in FPD CCTV_006 RE-RELEASE SENSITIVE are being re-produced with a reduced
sensitivity designation. They were previously designated Highly Sensitive and are now designated
Sensitive.
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   b. MPD files including:
           i. Arrest Paperwork (CAPD_000054955 - CAPD_000057723).
          ii. Criminal Investigative Division BOLO Files (CAPD_000057724 -
              CAPD_000057992).
        iii. Curfew Arrest Paperwork (CAPD_000057993 - CAPD_000058211).
         iv. Tips (CAPD_000058212 - CAPD_000058578).
          v. BOLO Materials (CAPD_000058579 - CAPD_000058617).
         vi. Video Recorded by VSP and provided to MPD (CAPD_000058618 -
              CAPD_000058619).
        vii. Event Chronologies for Emergency Calls (CAPD_000058620 -
              CAPD_000058838).
       viii. Situational Awareness Documents (CAPD_000058839 -
              CAPD_000058893).
         ix. Radio and GPS Information (CAPD_000058894).
          x. Transcripts of Radio Communications on MPD-1 Channel from January 6
              and 7, 2021 (CAPD_000058895 - CAPD_000059161).
         xi. Documents Related to Use of Force (CAPD_000059162 -
              CAPD_000059174).

   c. USCP files including:
          i. Board Orders (CAPD_000059175 - CAPD_000059182).
         ii. National Capital Region Mutual Aid Agreement (CAPD_000059183 -
             CAPD_000059220).
        iii. Emails and Communications (CAPD_000059221 - CAPD_000060468).
        iv. Summary of Abandoned Property from January 6, 2021
             (CAPD_000060469 - CAPD_000060473).
         v. Prisoner Processing Paperwork (CAPD_000060474 - CAPD_000060514).
        vi. Event Chronology for January 6th (CAPD_000060515 -
             CAPD_000060594).


2. Volume DOJCB_015: On March 25, 2022, the following documents were shared to
   the defense Relativity database:
   a. Documents identified as relevant to (1) United States v. Dustin Thompson and (2)
       United States v. Jacob Fracker and Thomas Robertson (CAPD_000073343 -
       CAPD_000073992, except for the documents described in (b) through (d) below,
       which were inadvertently intermingled in this Bates range).
   b. VSP Body Worn Camera Start Times and Officer Assignment Spreadsheet. This
       spreadsheet consists of USAO work product and is being provided solely to assist
       the defense in locating potentially relevant evidence (CAPD_000073739).
   c. VSP - Division 27 (Fairfax) - Body-Worn-Camera Deployment Tracker
       (CAPD_000073993).
   d. USCP Emails and Communications (CAPD_000073888 and CAPD_000073924).
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      3. Volume DOJ_ABD_003: On March 18, 2022, DOJ_ABD items associated with 14
         individuals, William Isaacs, Donovan Crowl, Patrick McCaughey, Christopher
         Quaglin, Joseph Hackett, Kevin Seefried, Roberto Minuta, Anthime Gionet, David
         Alan Blair, Anthony Williams, Brian Ulrich, Dustin Thompson, and Geoffrey Sills,
         were produced to the defense Relativity database (CAPD_000060595 -
         CAPD_000073342).

      4. Volume DOJ_ABD_004: On March 28, 2022, DOJ_ABD items associated with 90
         individuals (listed in the attached index) were produced to the defense Relativity
         database (CAPD_000073994 - CAPD_000076394).


Global Production No. 14
       Global Production No. 14 consisted of Relativity production volumes DOJCB_016,
DOJCB_017, DOJ_ABD_005, DOJ_ABD_006, and DOJ_ABD_007. This production included
materials responsive to defense discovery requests concerning James “Ray” Epps.

      1. Volume DOJCB_016: On April 14, 2022, the following documents were shared to
         the defense Relativity database:
             a. Ray Epps materials (CAPD_000363525 - CAPD_000363536).
             b. A work product spreadsheet of MPD BWC serial numbers and original owner
                 names (CAPD_000363537).
             c. MPD Injured Officer Case Files (CAPD_000363538 - CAPD_000363620,
                 CAPD_000363696, CAPD_000363697, CAPD_000363699 -
                 CAPD_000363702, CAPD_000363822 - CAPD_000363863,
                 CAPD_000363873 - CAPD_000363873).
             d. Prince George's County Police materials (CAPD_000363621 -
                 CAPD_000363622).
             e. USCP Crime Scene Unit Materials (CAPD_000363623 - CAPD_000363694).
             f. USCP Comprehensive After-Action Report (CAPD_000363695).
             g. Documents related to Nicholas Rodean (CAPD_000363698,
                 CAPD_000363864 - CAPD_000363872).
             h. Documents related to Charles Donohoe (CAPD_000363703 -
                 CAPD_000363727).




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        The government is aware that Ray Epps has been the subject of a variety of media articles11
and a topic of congressional hearings.12 Public statements by the House Select Committee on
January 6 indicate that it has interviewed Mr. Epps13 and media reports citing counsel for Mr. Epps
indicate that the Committee did so again on Friday, January 21, 2022.14 Included within the Ray
Epps materials described in 1(a) above (CAPD_000363525 - CAPD_000363536) are:

                a. Audio recording of a January 8, 2021 call to FBI’s National Threat Operations
                   Center (NTOC) from Ray Epps (CAPD_000363534). This material is
                   designated Highly Sensitive under the protective order.
                b. Audio recording of March 3, 2021 interview of Ray Epps and corresponding
                   documents including photographs, notes, and 302 summary
                   (CAPD_000363525, CAPD_000363532 - CAPD_000363533,
                   CAPD_000363536). This material is designated Highly Sensitive under the
                   protective order.



11
  See e.g., Anne Ryman, Arizona Man Went to Washington for Day of Capitol Riot, Appears to Talk
About Plans in Video, Arizona Republic (published 6:51 PM MT Jan. 11, 2021; updated 10:47 AM MT
Jan. 12, 2021) (available at https://www.azcentral.com/story/news/local/arizona/2021/01/11/fbi-capitol-
investigation-arizona-trump-supporter/6624406002/ (last visited 1/19/2022); Who is Ray Epps?,
Snopes.com (published Jan. 7, 2022) (available at https://www.snopes.com/articles/389126/who-is-ray-
epps/) (last visited 1/19/2022).
12
   See Oversight of the United States Department of Justice: Hearing Before the House Committee on the
Judiciary, 117 Cong. (October 21, 2021) (Testimony of Attorney General Merrick B. Garland) (available
at
https://twitter.com/RepThomasMassie/status/1451310873604206597?cxt=HHwWisC5_Zrji6QoAAAA);
The Domestic Terrorism Threat One Year After January 6: Hearing Before Senate Committee on the
Judiciary, 117 Cong. (January 11, 2022) (Questions of Senator Ted Cruz) (available at
https://www.judiciary.senate.gov/meetings/the-domestic-terrorism-threat-one-year-after-january-6 at
01:53:30).
13
   House Select Committee on January 6th (@January6thCmte), Twitter (Jan. 11, 2022, 3:58 PM)
https://twitter.com/January6thCmte/status/1481007562187280387 (“The Select Committee is aware of
unsupported claims that Ray Epps was an FBI informant based on the fact that he was on the FBI Wanted
list an then was removed from that list without being charged”); House Select Committee on January 6th
(@January6thCmte), Twitter (Jan. 11, 2022, 3:58 PM)
https://twitter.com/January6thCmte/status/1481007564188012544 (“The Committee has interviewed
Epps. Epps informed us that he was not employed by, working with, or acting at the direction of any law
enforcement agency on Jan 5th or 6th or at any other time, & that he has never been an informant for the
FBI or any other law enforcement agency.”)
14
  Kyle Cheney, Figure at Center of Pro-Trump Jan. 6 Theories to Speak with Select Committee Friday,
Politico (Jan. 18, 2022 02:38 PM EST) (available at https://www.politico.com/news/2022/01/18/ray-epps-
jan-6-select-committee-527306).

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              c. Audio recording of April 13, 2021 interview of James “Jim” Epps Jr., the son
                 of Ray Epps (CAPD_000363526). This material is designated Highly
                 Sensitive under the protective order.
              d. Video footage from January 6, 2021 that includes the individual identified as
                 Ray Epps on January 6, 2021, including two clips from longer open source
                 videos and clips from the BWC footage of MPD Officers Lazewski, Spajic,
                 Ross, and Naticchione (CAPD_000363527- CAPD_000363531,
                 CAPD_000363535).

       2. Volume DOJCB_017: On April 22, 2022, the following documents were shared to
          the defense Relativity database:
              a. USCP Casework files related to the following individuals: Larry Brock Jr.,
                  Lisa Marie Eisenhart, Joshua Hernandez, Adam Johnson, Kevin Lyons,
                  Richard McGinnish, Eric Munchel, Ronnie Presley, and Ronald Sandlin
                  (CAPD_000386435 and CAPD_000386949).
              b. Materials gathered by the FBI related to Enrique Tarrio (CAPD_000386950
                  and CAPD_000389278).

       3. Volume DOJ_ABD_005: On April 12, 2022, DOJ_ABD items associated with 29
          individuals (listed in the attached index) were produced to the defense Relativity
          database (CAPD_000076395 - CAPD_000275396).

       4. Volume DOJ_ABD_006: On April 14, 2022, DOJ_ABD items associated with 47
          individuals (listed in the attached index) were produced to the defense Relativity
          database (CAPD_000275397 - CAPD_000363524).

       5. Volume DOJ_ABD_007: On April 22, 2022, DOJ_ABD items associated with 41
          individuals (listed in the attached index) were produced to the defense Relativity
          database (CAPD_000363877 - CAPD_000386434).


Global Production No. 15
        Global Production No. 15 consisted of Relativity production volumes DOJCB_018, This
letter addresses Capitol Siege Section Discovery Unit Global Production No. 15, consisting of
Relativity production volumes DOJCB_018, DOJCB_019, DOJ_ABD_008, and
DOJ_ABD_009.

       1. Volume DOJCB_018: On May 3, 2022, the following documents were shared to the
          defense Relativity database:
             a. FBI interview memoranda from interviews of 48 law enforcement officers
                 from multiple agencies and accompanying exhibits (CAPD_000434759 -
                 CAPD_000434941, CAPD_000435145 - CAPD_000435163,
                 CAPD_000435198 - CAPD_000435206, CAPD_000437229 -


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                  CAPD_00437281, CAPD_000443219 - CAPD_000443228, and
                  CAPD_000443263 - CAPD_000443270).
             b.   USCP files related to assaults on officers (CAPD_000434942 -
                  CAPD_000435099).
             c.   USCP Casework Files (CAPD_000435100 - CAPD_000435144).
             d.   Materials gathered by the FBI related to Ronald Loehrke (CAPD_000435207
                  and CAPD_000437228).
             e.   Materials gathered by the FBI related to Zach Rehl (CAPD_000435164 -
                  CAPD_000435197, CAPD_000442094 - CAPD_000443218).
             f.   Materials gathered by the FBI related to Ethan Nordean (CAPD_000437282 -
                  CAPD_000442093).
             g.   USCP files related to Robert Sanford (CAPD_000443229 -
                  CAPD_000443262).

      2. Volume DOJCB_019: The FBI has 60-plus social media accounts (Twitter,
         Facebook, YouTube, etc.) which are managed by FBI Headquarters and Field
         Offices. The National Threat Operations Center evaluates comments directed toward
         these social media accounts for potential crimes, threats of harm to an individual, or
         national security threats. On May 6, 2022, 40,481 social media comments directed
         toward FBI social media accounts were shared to the defense Relativity database
         (CAPD_000443271 and CAPD_000483792).

      3. Volume DOJ_ABD_008: On May 3, 2022, DOJ_ABD items associated with 52
         individuals (listed in the attached index) were produced to the defense Relativity
         database (CAPD_000389279 - CAPD_000434758).

      4. Volume DOJ_ABD_009: On May 6, 2022, DOJ_ABD items associated with 59
         individuals (listed in the attached index) were produced to the defense Relativity
         database (CAPD_000483793 - CAPD_000530146).

Global Production No. 16
       Global Production No. 16 consisted of Relativity production volumes DOJCB_020
through and including DOJCB_023, and DOJ_ABD_010 through and including DOJ_ABD_015,
and one evidence.com production.

      A. Relativity Productions

         1. Volume DOJCB_020: On June 10, 2022, the following documents were shared
            to the defense Relativity database:
                a. USCP Criminal Investigations Division (“CID”) Files
                    (CAPD_001134934).
                b. USCP Crime Scene Unit Documents, Photos, & Files (CAPD_001134935
                    - CAPD_001135530).


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                    c. USCP Emails and Communications (CAPD_001135531-
                       CAPD_001136175).
                    d. USCP Text Messages (CAPD_001136176- CAPD_001136190).
                    e. Materials gathered by the USCP related to Richard Barnett
                       (CAPD_001136191- CAPD_001136928).
                    f. Materials gathered by the FBI related to Joseph Biggs (United States v.
                       Ethan Nordean et al. Case No 21-cr-00175) (CAPD_001136929 -
                       CAPD_001138562).
                    g. Materials gathered by the USCP related to Hunter Ehmke
                       (CAPD_001138563 - CAPD_001138597).
                    h. Materials gathered by the USCP related to Mark Mazza
                       (CAPD_001138598 - CAPD_001147399).
                    i. Materials gathered by the USCP related to Jesus Delamora Rivera
                       (CAPD_001147400 - CAPD_001147403).
                    j. Materials gathered by the USCP related to Scott Scheib
                       (CAPD_001147406 - CAPD_001147438).
                    k. Materials gathered by the USCP related to Mark Squatrito
                       (CAPD_001147439 - CAPD_001148255).
                    l. Materials gathered by the USCP related to Michael Taylor
                       (CAPD_001148256 - CAPD_001148375).
                    m. Materials gathered by the US Capitol Police related to Andrew Wrigley
                       (CAPD_001147404 (also Nicholas Rodean) and CAPD_001148376 -
                       CAPD_001155915).


            2. Volume DOJCB_021: On June 10, 2022, the following documents were shared
               to the defense Relativity database:
                   a. USCP Crime Scene Unit Files (CAPD_001155916 - CAPD_001156344).
                   b. Materials gathered by the FBI relevant to 100T-WF-3414040-SUB_A
                       (CAPD_001156345 - CAPD_001161560; CAPD_001173601 -
                       CAPD_001175769; CAPD_001180538 - CAPD_001180552;
                       CAPD_001181951 - CAPD_001182347).15
                   c. Materials gathered by the FBI relevant 100T-WF-3414040-SUB_B
                       (CAPD_001161561 - CAPD_001173600; CAPD_001175770 -
                       CAPD_001180537; CAPD_001180553 - CAPD_001181779;
                       CAPD_001181780 - CAPD_001181950).


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  Items coded by the identifier 100T-WF-3414040-SUB_A are associated with the following charged
cases: (a) United States v. Elmer Stewart Rhodes, III et al., Case No. 22-cr-00015; (b) United States v.
Donovan Crowl et al., Case No. 21-cr-00028; and (c) United States v. Jonathan Walden, Case No. 22-cr-
00014.

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            3. Volume DOJCB_022: On June 17, 2022, materials gathered by the FBI relevant
               to relating to 100T-WF-3414040-SUB_B were shared to the defense database.16

            4. Volume DOJCB_023: The National Threat Operations Center opened a tip-line
               for individuals to provide information regarding the identification of people
               involved in illegal activities on January 6, 2021. On June 24, 2022, 21,319 such
               tips were shared to the defense Relativity database. These tips were being
               provided in redacted format to protect the identity of the person providing the tip
               (CAPD_001947969 - CAPD_001969317).

            5. Volume DOJ_ABD_010: On May 17, 2022, DOJ_ABD items associated with
               93 individuals (listed in the attached index) were produced to the defense
               Relativity database (CAPD_000530147- CAPD_000625849).

            6. Volume DOJ_ABD_011: On May 27, 2022, DOJ_ABD items associated with
               59 individuals (listed in the attached index) were produced to the defense
               Relativity database (CAPD_000625850- CAPD_000706670).

            7. Volume DOJ_ABD_012: On June 3, 2022, DOJ_ABD items associated with 46
               individuals (listed in the attached index) were produced to the defense Relativity
               database (CAPD_000706671- CAPD_001134933).

            8. Volume DOJ_ABD_013: On June 13, 2022, DOJ_ABD items associated with
               38 individuals (listed in the attached index) were produced to the defense
               Relativity database (CAPD_001182348 - CAPD_001334328).

            9. Volume DOJ_ABD_014: On June 17, 2022, DOJ_ABD items associated with
               24 individuals (listed in the attached index) were produced to the defense
               Relativity database (CAPD_001334329 - CAPD_001868624).

            10. Volume DOJ_ABD_015: On June 24, 2022, DOJ_ABD items associated with
                56 individuals (listed in the attached index) were produced to the defense
                Relativity database (CAPD_001969318- CAPD_002152348).



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   Items coded by the identifier 100T-WF-3414040-SUB_B are associated with the following charged
cases: (a) United States v. Ethan Nordean et al., Case No 21-cr-00175; (b) United States v. Nicholas Ochs
et al., Case No. 21-cr-00073; (c) United States v. Alan Fischer III et al., Case No. 22-cr-00011; (d) United
States v. Jeffery Finley, Case No. 21-cr-00526; (e) United States v. Gilbert Fonticoba, Case No. 21-cr-
00638; (f) United States v. Gabriel Garcia, Case No. 21-cr-00129; (g) United States v. Arthur Jackman et
al., Case No. 21-cr-00378; (h) United States v. Isaiah Giddings et al., Case No. 21-mj-00689; (i) United
States v. Matthew Greene et al., Case No. 21-cr-00052; (j) United States v. Ronald Loehrke et al., Case
No. 21-mj-00672; (k) United States v. Daniel Scott et al., Case No. 21-cr-00292; and (l) United States v.
Christopher Kuehne et al., 21-cr-00160.
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        B. Evidence.com Productions
        On June 15, 2022, 12 files consisting of approximately 30 hours of MPD CCTV footage
recorded by 2 cameras between the hours of 10:00 a.m. on January 6, 2021 and 2:00 a.m. on
January 7, 2021 were shared to the defense instance of evidence.com. These files are designated
Sensitive under the protective order. (FPD_MPD CCTV 001 SENSITIVE).

        Timestamps are available for these videos, but because of an evidence.com technical
limitation, timestamps for MPD CCTV footage are only viewable when the footage is
downloaded and viewed in the app VLC (available for free at https://www.videolan.org/vlc/).

         To view the timestamp of the MPD CCTV footage you must:
            1. Download the individual CCTV file you want to view.
            2. Open that video in VLC.
            3. If the timestamp doesn’t show immediately, right-click anywhere on the video >
                open the “subtitle” menu > open the “sub track” menu and select ‘Track 1 –
                [English]”.

Global Production No. 17
      Global Production No. 17 consisted of Relativity production volumes DOJCB_024 and
DOJ_ABD_016.

         1. Volume DOJCB_024: On July 11, 2022, the following materials were produced
            with this volume (CAPD_003356950 - CAPD_003362900).
               a. Report of Interview of FBI Supervisory Special Agent regarding the effects of
                    OC Spray and Accompanying Notes (CAPD_003356953 -
                    CAPD_003356956, and CAPD_003356981 - CAPD_003356983).17
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  According to trainers at the Metropolitan Police Department’s Maurice T. Turner Jr. Metropolitan
Police Academy, Oleoresin Capsicum spray (“OC spray”) is a less-than-lethal munition designed to
incapacitate a target without causing physical injury. OC spray is deployed against all MPD recruits as
part of their training. These hundreds of annual applications of OC spray in a sterile training environment
against fit and healthy individuals routinely achieve their intended goal, namely the diminishment of the
physical capabilities of the recruit/trainee without meaningful injury. While there have been very rare
instances where a recruit/trainee has needed medical intervention following the application of OC spray,
most individuals experience a significant amount of pain and diminished capacity.

        Included in this production is an FD-302 of an interview with Gerald “Ken” Western,
Supervisory Special Agent in the FBI’s Physical Training Unit at the FBI Training Academy, detailing
his experience and knowledge regarding OC spray (see CAPD_003356981). Upon reviewing this FD-
302, SSA Western had the following comments:

        Paragraph 8 under Details, Sentence 1: The context of this statement is that New Agents when
         exposed to OC make the statements they felt like they were dying or could not breathe.

        Paragraph 11, Sentence 1: The individual had asthma and went to the hospital but it did not
         require hospitalization nor did anaphylaxis occur.
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               b. Report of interview with Sophie Gousset with related documents
                  (CAPD_003356950 - CAPD_003356952, and CAPD_003356977 -
                  CAPD_003356980).
               c. Materials gathered by the FBI related to the following individuals:
                      i. Corinne Montoni (CAPD_003359508 - CAPD_003359676)
                     ii. Jeremy Sorvisto (CAPD_003359677 - CAPD_003362460)
                    iii. Valerie Ehrke (CAPD_003359025 - CAPD_003359449)
                    iv. Michael Stepakoff (CAPD_003362461 - CAPD_003362690)
                     v. Paul Von Bernewitz (CAPD_003362693 - CAPD_003362900).
               d. USCP Casework Files (CAPD_003356984 - CAPD_003357005).
               e. USCP Emails and Communications (CAPD_003357006 -
                  CAPD_003357191).
               f. USCP Prisoner Processing Unit Files (CAPD_003357192 -
                  CAPD_003357252).
               g. USCP OPR Report 21-006, Related News Footage (CAPD_003358039).
               h. Materials gathered by the USCP related to the following individuals:
                      i. David Blair (CAPD_003358040 - CAPD_003358064)
                     ii. Terry Brown (CAPD_003358065)
                    iii. Lonnie Coffman (CAPD_003358066 - CAPD_003359024)
                    iv. Mark Leffingwell (CAPD_003359450 - CAPD_003359489)
                     v. Mark Mazza (CAPD_003359490 - CAPD_003359507)
                    vi. Michael Taylor (CAPD_003362691 - CAPD_003362692).
               i. Photographs provided by MPD (CAPD_003356957 - CAPD_003356976).

       2. Volume DOJ_ABD_016: On July 6, 2022, DOJ_ABD items associated with 36
          individuals (listed in the attached index) were produced to the defense Relativity
          database (CAPD_002152349 - CAPD_003356949).

Global Production No. 18
       Global Production No. 18 consisted of Relativity production volumes DOJCB_025
through and including DOJCB_027 and DOJ_ABD_017 through and including DOJ_ABD_022,
and three evidence.com productions.




      Paragraph 12, Sentence 2: I do not know that a defibrillator is not authorized in an OC
       contaminated environment. During the agent’s summation, this point was reiterated that I have
       not seen any information an AED was not permitted in an OC environment. We did talk about
       the hazard with a Taser but was not sure it pertained to an AED.

      Paragraph 12, last sentence: This is not my statement. I am an EMT so an individual could still
       perform medical interventions even in an OC environment.

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1. Volume DOJCB_025: The National Threat Operations Center opened a tip-line for
   individuals to provide information regarding the identification of people involved in
   illegal activities on January 6, 2021. On July 25, 2022, 20,783 such tips were shared
   to the defense Relativity database. These tips were being provided in redacted format
   to protect the identity of the person providing the tip (CAPD_004657580 -
   CAPD_004678433).

2. Volume DOJCB_026: On August 12, 2022, the following materials were produced
   with this volume.
      a. Selected USCP emails responsive to a search for the terms “Oath Keepers,”
           “Oathkeepers,” or “Stewart Rhodes” for the period 11/9/20 to 1/6/21
           (CAPD_005105994 - CAPD_005106025; CAPD_005108104 -
           CAPD_005108434).
      b. Certificate of Authenticity from Sophie Gousset Lacroix for video provided to
           Bangumi (CAPD_005106026).
      c. Press photos from Agence France-Presse (CAPD_005106027 -
           CAPD_005108103).
      d. US Park Police Radio Communications (CAPD_005108435 -
           CAPD_005110091).
      e. Materials gathered by the Federal Bureau of Investigation (“FBI”) related to
           Michael Stepakoff (CAPD_005110092 - CAPD_005110094).

3. Volume DOJCB_027: On August 19, 2022, materials gathered by the FBI related to
   the following individuals were shared to the defense Relativity database:
       a. Zachary Jordan Alam (CAPD_005110095 - CAPD_005110232).
       b. Samuel Earl Digangi (CAPD_005110233 - CAPD_005110235).
       c. Andrew William Griswold (CAPD_005110236 - CAPD_005110378).
       d. Richard Lee Harris (CAPD_005110379 - CAPD_005110895).
       e. Timothy Allen Hart (CAPD_005110896 - CAPD_005110917).
       f. Andrew Alan Hernandez (CAPD_005110918 - CAPD_005110989).
       g. Lawrence Joseph Ligas (CAPD_005110990 - CAPD_005111003).
       h. Megan Dawn Paradise (CAPD_005111004 - CAPD_005111102).
       i. Audrey Anne Southard-Rumsey (CAPD_005111103 - CAPD_005111164).
       j. John Earle Sullivan (CAPD_005111165 - CAPD_005111515).
       k. George Amos Tenney III (CAPD_005111516 - CAPD_005111780).
       l. Jonah Westbury (CAPD_005111781 - CAPD_005111786).
       m. Darrell Alan Youngers (CAPD_005111787 - CAPD_005111907).

4. Volume DOJ_ABD_017: On July 18, 2022, DOJ_ABD items associated with 21
   individuals were produced to the defense Relativity database (CAPD_003362901 -
   CAPD_004105083).


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      5. Volume DOJ_ABD_018: On July 20, 2022, DOJ_ABD items associated with 31
         individuals were produced to the defense Relativity database (CAPD_004105084 -
         CAPD_004456900).

      6. Volume DOJ_ABD_019: On July 25, 2022, DOJ_ABD items associated with 31
         individuals were produced to the defense Relativity database (CAPD_004456901 -
         CAPD_004657579).

      7. Volume DOJ_ABD_020: On July 28, 2022, DOJ_ABD items associated with 21
         individuals were produced to the defense Relativity database (CAPD_004678434 -
         CAPD_004694545).

          Pursuant to a Stored Communications Act search warrant, Apple provided data for
          three independent iCloud accounts – those associated with Sandra Parker, Elmer
          Stewart Rhodes and Bennie Parker – in one production. As a forensic matter, because
          of the manner in which the information was provided to us, we were unable to split
          the accounts into three separate DOJ_ABD items. Accordingly, the
          META_Custodian field for this data (CAPD_004685281to CAPD_004688632)
          inaccurately lists Rhodes as the Custodian for information derived from the Parkers’
          accounts.

      8. Volume DOJ_ABD_021: On August 3, 2022, DOJ_ABD items associated with 43
         individuals were produced to the defense Relativity database (CAPD_004694546 -
         CAPD_004971662).

      9. Volume DOJ_ABD_022: On August 11, 2022, DOJ_ABD items associated with 13
         individuals, and open source social media gathered by the FBI relating to 100T-WF-
         3414040-SUB_B were produced to the defense Relativity database
         (CAPD_004971663 - CAPD_005105993).

Global Production No. 19
      Global Production No. 19 consisted of Relativity production volumes DOJCB_028 to
DOJCB_029 and DOJ_ABD_023 to DOJ_ABD_024.

      1. Volume DOJCB_028: On September 13, 2022, materials gathered by the FBI
         related to 63 individuals (listed in the attached index) were shared to the defense
         Relativity database (CAPD_006028083 - CAPD_006043175).

      2. Volume DOJCB_029: On September 16, 2022, the following materials were
         produced with this volume:

             a. Map and spreadsheet concerning USCP CCTV in evidence.com
                (CAPD_006180911 - CAPD_006180912).


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        To effort to assist the defense in locating relevant USCP CCTV exterior camera footage,
enclosed is government work product consisting of: (a) a spreadsheet of exterior camera names
and names of nearest buildings and (b) a map showing the location of the buildings identified on
the spreadsheet. In addition, to the extent currently known to the CSS Discovery Unit, the
spreadsheet identifies exterior, interior, and CVC cameras that were not installed or that
experienced recording gaps or distortion (e.g., static or pixelated images) during recording on
January 6, 2021.18

                   b. Glossary of Plum Production Fields and Descriptions (CAPD_006180913).19
                   c. US Capitol Police Civil Disturbance Unit (“CDU”) Operational Plan (various
                      drafts) (CAPD_006180916 - CAPD_006180979).
                   d. Materials gathered by the FBI related to 26 individuals who are listed in the
                      attached index (CAPD_006180980 - CAPD_006183399).

          3. Volume DOJ_ABD_023: On August 31, 2022, DOJ_ABD items associated with 82
             individuals, open source videos gathered by the FBI relating to 100T-WF-3414040-
             SUB_A and 100T-WF-3414040-SUB_B, as well as video surveillance footage
             gathered by the FBI relating to 100T-WF-3414040-SUB_B, were produced to the
             defense Relativity database (CAPD_005111908 - CAPD_005939291).

          4. Volume DOJ_ABD_024: On September 1, 2022, DOJ_ABD items associated with
             26 individuals (identified in the attached index) were produced to the defense
             Relativity database (CAPD_005939292 - CAPD_006028082).



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  According to a representative of the USCP, recording gaps and footage distortion can occur for any
number of reasons, including signal degradation and loss of power to a network switch. Signal
degradation typically occurs when faulty cables are disturbed (e.g., by wind, vibrations, people, or stress
from data that exceeds a degraded cable’s limits), and may affect an individual camera or group of
cameras connected to a network switch. In most cases, loss or distortion of signal is intermittent and will
correct itself when the source of the signal degradation/interference has corrected itself. A loss of power
to a network switch may result from events including power surges, short circuits, and line damage, and
will affect any cameras connected to the network switch. While the exact cause of the power failure to
cameras on January 6, 2021 has not been identified, it is worth noting that all the affected cameras were
on the north side of the Capitol, which is the same side as the Inauguration trailer. A significant amount
of power is run above ground via a temporary conduit to the Inauguration trailer, platform, and media
tower. It is thus feasible that when the media tower conduit or other power lines in that area were
damaged, a power failure resulted. (All equipment is supported by battery backup and therefore it is
possible that once the cameras dropped offline, they had been running on battery backup for 40 minutes
or more.) It is also possible that the power to the affected cameras was restored when building engineers
addressed a loss of power to other devices, lights, or outlets that likely occurred at the same time the
cameras lost power.
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     See page 5.

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Global Production No. 20
      Global Production No. 20 consisted of Relativity production volumes DOJCB_030 to
DOJCB_033 and DOJ_ABD_025 to DOJ_ABD_030.

      1. Volume DOJCB_030: The National Threat Operations Center opened a tip-line for
         individuals to provide information regarding the identification of people involved in
         illegal activities on January 6, 2021. On September 30, 2022, 9,727 such tips were
         shared to the defense Relativity database. These tips were being provided in redacted
         format to protect the identity of the person providing the tip (CAPD_006183400 -
         CAPD_006193213).

      2. Volume DOJCB_031: On September 26, 2022, selected U.S. Capitol Police
         (“USCP”) emails and communications responsive to discovery requests in United
         States v. Elmer Stewart Rhodes, III et al., Case No. 22-cr-00015 and relevant to
         individuals associated with the CODE_IndivDefendant identifier 100T-WF-3414040-
         SUB_A, were shared to the defense Relativity database (CAPD_006193214 -
         CAPD_006211845).

      3. Volume DOJCB_032: On October 3, 2022, materials gathered by the FBI relevant
         to individuals associated with the CODE_IndivDefendant identifier 100T-WF-
         3414040-SUB_B and 17 other individuals listed in the attached index were shared to
         the defense Relativity database (CAPD_006584839 - CAPD_006586121).

      4. Volume DOJCB_033: On October 5, 2022, the following materials were produced
         with this volume.
            a. AUSA Alyse Constantinide was tasked with responding to the U.S. Capitol on
                 January 6, 2021. This production includes photos and videos she took on
                 scene. (CAPD_006586122 - CAPD_006586134)
            b. Materials gathered by the FBI related to the following individuals:
                       i. Neil Ashcraft (CAPD_006586135 - CAPD_006586135).
                      ii. James Haffner (CAPD_006586136 - CAPD_006586139).
                    iii. Richard Barnett (CAPD_006586140 - CAPD_006587868).
                     iv. Willard Thomas Bostic Jr. (CAPD_006587869 - CAPD_006587869).
                      v. John J. Carl (CAPD_006587870 - CAPD_006587872).
                     vi. Timothy Allen Hart (CAPD_006587873 - CAPD_006588103).
                    vii. Roger Jones (CAPD_006588104 - CAPD_006588108).
                   viii. Cole Andre Temple (CAPD_006588109 - CAPD_006588153).
                     ix. Adam Mark Weibling (CAPD_006588154 - CAPD_006588412).

      5. Volume DOJ_ABD_025: On September 16, 2022, DOJ_ABD items associated with
         44 individuals (identified in the attached index) were produced to the defense
         Relativity database (CAPD_006043176 - CAPD_006081209).

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       6. Volume DOJ_ABD_026: On September 21, 2022, DOJ_ABD items associated with
          24 individuals (identified in the attached index) were produced to the defense
          Relativity database (CAPD_006081210 - CAPD_006180910).

       7. Volume DOJ_ABD_027: On September 23, 2022, DOJ_ABD items associated with
          68 individuals (identified in the attached index) were produced to the defense
          Relativity database (CAPD_006211846 - CAPD_006291845).

       8. Volume DOJ_ABD_028: On September 26, 2022, DOJ_ABD items associated with
          55 individuals (identified in the attached index) were produced to the defense
          Relativity database (CAPD_006291846 - CAPD_006571492).

       9. Volume DOJ_ABD_029: On September 28, 2022, DOJ_ABD items associated with
          20 individuals (identified in the attached index) were produced to the defense
          Relativity database (CAPD_006571493 - CAPD_006584838).

       10. Volume DOJ_ABD_030: On October 6, 2022, DOJ_ABD items associated with 58
           individuals (identified in the attached index) were produced to the defense Relativity
           database (CAPD_006588413 - CAPD_006625677).

                                               ***

        As of October 7, 2022, over 3.49 million files (over 4.64 terabytes of information) have
been provided to the defense Relativity workspace. These files include (but are not limited to)
the results of searches of 689 digital devices and 376 Stored Communications Act accounts;
1,743 FBI FD-302s and related attachments (FD-302s generally consist of memoranda of
interviews and other investigative steps); 330 digital recordings of subject interviews; and 91,811
(redacted or anonymous) tips. Over 30,000 files consisting of body-worn and hand-held camera
footage from five law enforcement agencies and surveillance-camera footage from three law
enforcement agencies and the Hilton Garden Inn have been shared to the defense evidence.com
video repositories. For context, the files provided amount to over nine terabytes of information
and would take at least 105 days to view continuously.

       We will forward additional discovery as it becomes available.

                                                     Sincerely,




                                                     EMILY A. MILLER
                                                     Chief, Discovery Unit
                                                     Capitol Siege Section


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                                                            U.S. Department of Justice

                                                            Matthew M. Graves
                                                            United States Attorney

                                                            District of Columbia


                                                            Judiciary Center
                                                            555 Fourth St., N.W.
                                                            Washington, D.C. 20530

                                                         March 4, 2022

                Re: Capitol Siege Cases
                    Global Discovery Production No. 12

Dear Counsel:

       This letter addresses Capitol Breach Discovery Unit Global Production No. 12, consisting
of (A) Relativity production volumes DOJCB_012, DOJCB_013, DOJ_ABD_001, and
DOJ_ABD_002; (B) a disclosure about U.S. Capitol Police (“USCP”) closed circuit video
(“CCV”) footage; (C) two evidence.com productions (one re-release and one new); and (D) a
reminder about the applicability of the Protective Order.
        A. Relativity Productions

       Materials shared to the defense Relativity workspace will become available to you upon
your receipt of a license to access Relativity.1 Please be advised that sharing voluminous
documents to the defense Relativity workspace can sometimes take several hours or days,
depending on the size of files being shared.

        1. Volume DOJCB_012: On February 21, 2022, documents identified as relevant to
           United States v. Guy Reffitt, were shared to the defense Relativity database
           (CAPD_000038964 - CAPD_000050937).

        2. Volume DOJCB_013: On March 4, 2022, the following documents were shared to
           the defense Relativity database:
        a. Over 250 Federal Bureau of Investigation (“FBI”) interviews of USCP and
           Metropolitan Police Department officers, and associated exhibits (889 files total)
           (CAPD_000052939 - CAPD_000053427).

1
 If you have never received an invitation to obtain a Relativity license, or you are experiencing
difficulties or challenges with gaining access, please email Shelli Peterson at Shelli_Peterson@fd.org.




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       b. Three search warrants and related materials pertaining to a total of 63 Facebook
          accounts (CAPD_000050938 - CAPD_000051089).
       c. Two search warrants and related materials pertaining to the FBI’s collection of
          Google account subscriber information and location data from the Capitol and
          restricted perimeter, i.e., the Google geofence warrants (CAPD_000051162 -
          CAPD_000052152).
       d. An application and related orders issued pursuant to 18 U.S.C. 2703(d), requiring
          twelve cell service providers to provide basic subscriber information and call records
          for devices that, according to location data obtained pursuant to the Google geofence
          warrants, were present within the U.S. Capitol on January 6, 2021
          (CAPD_000051090 - CAPD_000051161).
       e. One search warrant and related materials requiring Facebook to provide information
          for accounts associated with 2,087 advertising identifiers (CAPD_000052153 -
          CAPD_000052257).
       f. Ten search warrants and related materials pertaining to anonymized location data
          collected by ten data aggregation companies (CAPD_000052258 -
          CAPD_000052696).
       g. Six search warrants and related materials pertaining to the FBI’s collection of cell
          tower data from Verizon, AT&T, and T-Mobile/Sprint (CAPD_000052697 -
          CAPD_000052938).

        Items (c) through (g) have been redacted to remove law enforcement sensitive
information, for example, the precise location of cellular network infrastructure that provided
cellular service to the Capitol on January 6, 2021; and information that would identify the
confidential sources of certain anonymized location data. In certain instances, we have also
redacted the precise account information sought, as analysis of the results continues to reveal
accounts associated with individuals who were lawfully present on January 6, 2021, e.g.,
members of Congress, their staff, and law enforcement. Relatedly, we do not intend to produce
en masse the data received in response to items (c) through (g) above because it contains such
information, and the process of identifying that information continues even today. Relevant data
obtained pursuant to items (c) through (g) will be provided in case-specific discovery, and
requests for such data should be addressed to the assigned prosecutor.

    3. Volume DOJ_ABD_001:2 On February 11, 2022, DOJ_ABD items associated with John
       Daniel Andries, Cynthia Ballenger, and Nicole Prado were produced to the defense
       Relativity database (CAPD_000023053 - CAPD_000024418).

2
 Until now, as above, all USAfx/Relativity productions have been identified by the volume prefix
“DOJCB” followed by a number. Going forward, we will utilize an additional volume prefix,
“DOJ_ABD,” to identify production volumes that consist of the following types of materials:

       1. Files from digital devices (e.g., cell phones and laptop computers) or Stored Communications
          Act accounts (e.g., gmail, Facebook, Twitter) that have been identified by law enforcement as
          relevant to the Capitol Siege investigation;
       2. Recorded interviews with investigation subjects; and
                                                   2




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   4. Volume DOJ_ABD_002: On February 21, 2022, DOJ_ABD items associated with Guy
      Reffitt were produced to the defense Relativity database (CAPD_000024419 -
      CAPD_000038963).

   5. All Prior Productions: At this juncture, the defense Relativity workspace contains all
      global discovery productions (i.e., Global Production Nos. 1-11) that were previously
      made by USAfx.

As of today, 34,095 documents have been provided to the defense Relativity database.

         A corresponding index has been made available via USAfx. The PDF version of the
index corresponds to this global production (only). The Excel version of the index corresponds
to this production and also includes all prior global productions. For simplicity, the Bates range
for certain voluminous records (e.g., files that are all derived from the same digital device) is
summarized in the index (as opposed to being listed line by line). Sensitivity designations for
the materials described above are identified in the index.

        B. Disclosure about USCP CCV
        The USCP captured footage from all Capitol interior, all Capitol Visitor Center (“CVC”)
interior, and all exterior CCV cameras that were in place on January 6, 2021. We have produced
all such footage to the defense instance of evidence.com except footage depicting:
       1. Critical infrastructure, e.g., communication and security closets, fire doors in the
          basement levels of the CVC, loading docks.
       2. X-Ray machine image feed.
       3. Intel and Sensitive Compartmented Information Facility (“SCIF”) office lobbies.
       4. Tunnels and subways.
       5. Evacuation routes and shelter-in-place locations utilized by, inter alia, members of
          Congress, their staff, and the Vice President, on January 6, 2021.
       6. Daycare centers and the Senate page dormitory (i.e., exterior footage that provides
          views of the entrances to these facilities and daycare playgrounds).

       Items 1-5 above have been designated as security information by the USCP Board
pursuant to 2 U.S.C. § 1979. The USCP has conducted a review of the footage comprised by
Items 1-5 above and has determined that most of the footage does not depict purported rioters.
We do not intend to produce such footage in discovery.
        Five video files (approximately 31 minutes of footage) that fall into the Item 5 category
depict purported rioters. We are conducting a review of this footage to determine whether it


       3. Aerial surveillance footage.


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depicts any charged defendants, and we will make disclosures in cases involving those
defendants as required by Rule 16 or Brady and its progeny, in a manner we deem appropriate to
protect the security interests at stake.
       While Item 6 does not constitute security information, it is nevertheless irrelevant
because the USCP’s review determined that none of this footage depicts purported rioters. Thus,
we do not intend to produce this footage in discovery.

        C. Evidence.com Productions
        Materials shared via evidence.com will become available to you upon your receipt of a
license to access evidence.com.3 Please be advised that sharing voluminous video files can
sometimes take several hours or days, depending on the size of files being shared.

        Re-Released Footage
        On Tuesday, December 14, 2021, the government learned that we had inadvertently
disclosed to the defense instance of evidence.com USCP CCV that had been designated as
security information by the USCP Board pursuant to 2 U.S.C. § 1979. As an initial matter, at our
request, FPD restricted access to the entire defense evidence.com instance while we assessed
what happened. On Monday, December 20, 2021, FPD restored access to the defense instance of
evidence.com, except for 702 files, while we worked through this matter with the USCP.

       On Friday, January 14, 2022, we authorized FPD’s re-release of 642 of 702 files that had
been deleted or restricted at our request. (The remainder comprise part of the footage designated
as security information by the USCP, discussed in Part B above.) Sixteen of those 642 files,
described below, had been deleted by FPD at our request. We reshared those files on March 1,
2022, in the following folders:
     14 files of exterior footage, approximately 5 hours in length (FPD CCTV_006 RE-
       RELEASE SENSITVE).4
     2 files of interior footage, approximately 40 minutes in length (FPD CCTV_007 RE-
       RELEASE HIGHLY SENSITIVE).




3
 If you have never received an invitation to obtain a license for evidence.com, please email Shelli
Peterson at Shelli_Peterson@fd.org.
4
 The files in FPD CCTV_006 RE-RELEASE SENSITIVE are being re-produced with a reduced
sensitivity designation. They were previously designated Highly Sensitive and are now designated
Sensitive.
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       New Production
       On March 4, 2022, 66 files consisting of approximately 35 hours of body-worn-camera
(“BWC”) footage recorded by 14 Virginia State Police (“VSP”) officers were shared to the
defense instance of evidence.com. The files, described below, were shared in a folder, as
follows:

      66 files consisting of approximately 35 hours of BWC footage recorded by 14 VSP
       officers on January 6, 2021, designated Highly Sensitive under the protective order
       (FPD_VIRGINIA_STATE_POLICE BWC 001 HIGHLY SENSITIVE).

Corresponding evidence.com indexes for all the evidence.com productions discussed above have
been made available via USAfx. (Indexes for all the additional videos currently in the defense
instance of evidence.com were previously produced.)

        D. Application of Protective Order
        If you receive any materials designated Sensitive or Highly Sensitive and (a) there is no
protective order entered in the applicable case or (b) your client has refused to sign a
written acknowledgment that s/he has read, understands and agrees to abide by the terms of the
applicable protective order, we request that you refrain from disseminating those materials to
your client. Instead, please inform the assigned prosecutor in writing and give them at least one
week to file a motion with the Court to ensure that discovery materials are adequately protected.

                                               ***

       We will forward additional discovery as it becomes available.

                                                     Sincerely,


                                                     EMILY A. MILLER
                                                     Chief, Discovery Unit
                                                     Capitol Siege Section




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